 Case 4:10-cv-04969 Document 297-7 Filed on 10/19/20 in TXSD Page 1 of 9




                        EXHIBIT 6

PX 593 – COUNT II – Chemical Plant STEERS Events –
Sorted by Pollutant and Emission Limits – Totals Added
              – Traceability Codes Added
                                                                                                                                             Case 4:10-cv-04969 Document 297-7 Filed on 10/19/20 in TXSD Page 2 of 9




This exhibit adds one column to the stipulated table in PX 2E; that column is entitled “Number of Days of Violation.” The number of days of violation are calculated as follows:

1. 1 day of violation is counted for each 24-hour period an emission event lasts (e.g., 30-hour Duration = 2 days of violation).

2. Because the Baytown Complex permits regulate emissions on a pollutant-by-pollutant basis, days of violation are calculated separately for each regulated air contaminant released in an event. VOCs are grouped together as one pollutant because they are regulated that way (except for benzene, which is regulated separately in the Refinery permit); oxides of
Nitrogen are similarly grouped together as one pollutant.

3. To determine whether the emission of any pollutant was unauthorized, the following process was followed:

If the “Limit” column lists the emission limit as “0”, a violation is counted for the pollutant emitted.

If the “Limit” column contains a number, a violation is counted only if:
      a. The “Authorization” column says “Not specifically authorized”; or
      b. The “Authorization” column says “portions authorized” or “parts authorized/parts not authorized”; or
      c. The “Amount” released (from all emission points releasing that pollutant) is larger than number in the “Limit” column AFTER dividing the total released (from all sources of that pollutant in the event) by the hours/duration of the event.

4. Because many of the Baytown Complex permits contain flexible emission caps that group emission sources together, only 1 violation per day for each pollutant released in an emission event is counted, regardless of how many emission points in the same event emitted that pollutant.


                                                                                                            Exxon Reported                                                                                                                  Reported                                                                                          Number of
 Tracking      Bates Number(s) of                                          TCEQ Reported End Date &                                                                                                                                                      Reported Emission                                                                                     Traceability
                                              Start Date & Time                                                Duration                Authorization                  Unit            Emission Point         EPN        Contaminant          Amount                                                     Cause                                   Days of
 Number          STEERS Report                                                      Time                                                                                                                                                                   Limit (lbs/hr)                                                                                         Codes
                                                                                                               (HR:MIN)                                                                                                                   Released (lbs)                                                                                       Violation
                                                                                                                                                                                                                                                                                Tank seal leak on ammonia gas holder tank. During de-
                                                                                                                                                                                                                                                                                inventory of tank, breakthrough occurred on ammonia
                                                                                                                                       Not Specifically         Baytown Chemical
   82255       ETSC 000082 - 000083             10/5/2006 4:00                     10/6/2006 8:30                  28:30                                                              Ammonia Dryer       DR-103 A/B      Ammonia                    80.00             0.00           dryer, DR-103A/B. Emissions associated with the              2
                                                                                                                                         authorized                   Plant
                                                                                                                                                                                                                                                                                 breakthrough did not exceed the ammonia reportable
                                                                                                                                                                                                                                                                               quantity. Portions of this unit are authorized under NSR
                                                                                                                                                                                                                                                                            Leak on bleeder on gas holder 101 resulting in emissions to
                                                                                                                                       Not Specifically          Linear Paraffins    Gas bleeder on gas
   70141       ETSC 000047 - 000048             1/6/2006 20:00                        1/8/2006                     28:00                                                                                                  Ammonia                   150.00             0.00    the atmosphere.Portions of the LPU unit are authorized              2              O-RQ
                                                                                                                                         authorized                   Unit               holder 101
                                                                                                                                                                                                                                                                                                                   under permit #20211.

                                                                                                                                                                                                                                                                                            TOTAL - AMMONIA - LIMIT 0 - PERMIT 20211               4                2

                                                                                                                                                                                                                                                                                Scheduled shutdown of ExxonMobil Baytown Chemical
                                                                                                                                       Not Specifically                                                                                                                      Plant (BTCP) due to approach of Hurricane Ike. Portions of
  113885       ETSC 000112 - 000114            9/11/2008 11:00                     9/17/2008 6:00                 139:00                                          Chemical Plant       Flare Stack 28       FS28          Ammonia                        0.90          0.00                                                                        6
                                                                                                                                         authorized                                                                                                                         these units are permitted under Permits #20211, 4600 and
                                                                                                                                                                                                                                                                                                                              #36476.
                                                                                                                                                                                                                                                                                            TOTAL - AMMONIA - LIMIT 0 - PERMIT 36476               6
                                                                                                                                                                                                                                                                                   Tank seal leak on ammonia gas holder tank. During de-
                                                                                                                                                                                                                                                                                   inventory of tank, breakthrough occurred on ammonia
                                                                                                                                     Flexible Permit No.:        Linear Paraffins                                                                                                        dryer, DR-103A/B. Emissions associated with the
   82255       ETSC 000082 - 000083             10/5/2006 4:00                     10/6/2006 8:30                  28:30                                                              Gas Holder 101       GH-101         Ammonia                   228.00             1.67                                                                                       O-RQ
                                                                                                                                            20211                     Unit                                                                                                          breakthrough did not exceed the ammonia reportable
                                                                                                                                                                                                                                                                                  quantity. Portions of this unit are authorized under NSR
                                                                                                                                                                                                                                                                                                                     permit number 20211
                                                                                                                                                                                                                                                                                                                 NO REPEATED VIOLATION

                                                                                                                                                                                                                                                                            During a planned unit startup, a restriction in a line resulted
                                                                                                                                                                                                                                                                                 in flaring above permitted MSS hourly limits from Flare
                                                                                                                                                                                                                                                                              Stack 28. Hourly MSS permit limit for COS exceeded in the
                                                                                                                                   0.03 lbs of the 0.03 lbs
                                                                                                                                                                SYNGAS Unit, SGU                                                                                            04:00-4:59 clock hour but no RQs exceeded during this time
  133644       ETSC 000139 - 000140            12/23/2009 2:00                    12/23/2009 17:30                 15:30           are authorized (Permit                              Flare Stack 28       FS28          Ammonia                        0.20          5.21                                                                        1
                                                                                                                                                                     FS28                                                                                                       period. During the 05:00-05:59 clock hour, H2S and SO2
                                                                                                                                           #36476
                                                                                                                                                                                                                                                                             hourly MSS permit limits were exceeded as well as the SO2
                                                                                                                                                                                                                                                                                    RQ. Portions of the unit are authorized under Permit
                                                                                                                                                                                                                                                                                     #36476, PSD-TX 996M. Emissions event has ended.

                                                                                                                                                                                                                                                                                         TOTAL - AMMONIA - LIMIT 5.21 - PERMIT 36476               1
                                                                                                                                                                   Chemical             Chemical                                                                            Wood lawn structure caught fire and burned to ground. The
                                                                                                                                       Not Specifically
   77173       ETSC 000092 - 000093             6/15/2006 2:59                     6/15/2006 3:17                  0:18                                          Administration       Administration                   Carbon Monoxide              758.00             0.00 structure is not part of an operating unit or process. The fire        1                F
                                                                                                                                         authorized
                                                                                                                                                                   Building             Building                                                                                  exceeded the opacity limit of 30 TAC 111.111(a)(8)(A).
                                                                                                                                                                                                                                                                                       High vibration in compressor C-1 (methyl chloride
                                                                                                                                   No specific emissions
                                                                                                                                                                                                                                                                                compressor) resulted in multiple shutdowns. Portions of
   91125       ETSC 000071 - 000072             5/14/2007 7:05                    5/18/2007 13:20                 102:15           authorizations for this         Butyl Plant         Flare Stack 12       FS12       Carbon Monoxide            1,133.00             0.00                                                                        5               F, H
                                                                                                                                                                                                                                                                               the Butyl Plant are authorized under Flexible Permits No.
                                                                                                                                           facility
                                                                                                                                                                                                                                                                                      Methyl chloride and hexane entered 4600  and 20211
                                                                                                                                                                                                                                                                                                                             a compressor
                                                                                                                                                                                                                                                                                   knockout drum during a unit startup resulting in flaring.
                                                                                                                                                                                                                                                                               Event has ended. Portions of the Butyl Plant are authorized
                                                                                                                                                                                                                                                                                 under Flexible Permits No. 4600 and 20211. Event started
                                                                                                                                       Not Specifically                                                                                                                        at 6:50pm on 5/27/07, but did not become reportable until
   91743       ETSC 000069 - 000070            5/28/2007 11:15                     5/30/2007 1:50                  38:35                                           Butyl Plant         Flare Stack 12       FS12       Carbon Monoxide               30.00             0.00                                                                         2              F, H
                                                                                                                                         authorized                                                                                                                             5/28/07 at 12:05. Main flaring ceased at ~18:50 5/2/07. A
                                                                                                                                                                                                                                                                              small amount of flaring occurred the next day (5/29/07) but
                                                                                                                                                                                                                                                                                        did not exceed any RQs. This 5/29/07 flaring is also
                                                                                                                                                                                                                                                                                 included because it is associated with the 5/27/07 flaring.
                                                                                                                                                                                                                                                                              Hours listed in Duration section do not include time periods
                                                                                                                                                                                                                                                                                    Scheduled shutdown of ExxonMobil Baytown Chemical
                                                                                                                                       Not Specifically                                                                                                                          Plant (BTCP) due to approach of Hurricane Ike. Portions of
  113885       ETSC 000112 - 000114            9/11/2008 11:00                     9/17/2008 6:00                 139:00                                          Chemical Plant       Flare Stack 12       FS12       Carbon Monoxide              161.00             0.00                                                                  already counted
                                                                                                                                         authorized                                                                                                                            these units are permitted under Permits #20211, 4600 and
                                                                                                                                                                                                                                                                                                                                   #36476.
                                                                                                                                                                                                                                                                                                       TOTAL - CO - LIMIT 0 - PERMIT 20211          8               8
                                                                                                                                                                                                                                                                                       During line re-inventory, pump shutdown resulted in
                                                                                                                                       Not Specifically             Propylene
   99726       ETSC 000059 - 000060             11/6/2007 1:42                     11/6/2007 8:15                  6:33                                                                Flare Stack 23       FS23       Carbon Monoxide              403.70             0.00   flaring. Event has ended. Portions of the PCU are authorized          1              F, H
                                                                                                                                         authorized             Concentration Unit
                                                                                                                                                                                                                                                                                                                       under permit #4600.
                                                                                                                                                                                                                                                                                      Compressor C-8745 shut down due to a fault in a low
                                                                                                                                       Not Specifically           Polypropylene                                                                                                  suction pressure switch. The event has ended. Portions of
   88629       ETSC 000073 - 000074            3/20/2007 20:40                     3/21/2007 2:29                  5:49                                                                Flare stack 23       FS23       Carbon Monoxide              120.00             0.00                                                                         1              F, H
                                                                                                                                         authorized                Unit: Line 8                                                                                                 the Propylene Unit are authorized under Permit Nos. 4600
                                                                                                                                                                                                                                                                                                                                 and 8586.
                                                                                                                                                                                                                                                                                 Safety relief valve on the 8753B transfer system relieved
                                                                                                                                       Not Specifically           Polypropylene
   83779       ETSC 000079 - 000080            11/12/2006 8:47                    11/12/2006 10:55                 2:08                                                                Flare Stack 23       FS23       Carbon Monoxide              153.00             0.00       early. Portions of the Polypropylene Unit are authorized         1               F, H
                                                                                                                                         authorized                Unit: Line 8
                                                                                                                                                                                                                                                                                                          under Permit Nos. 4600 & 8586.
                                                                                                                                                                                                                                                                                 Pump seal leak. The event has ended. Portions of the
                                                                                                                                       Not Specifically           Polypropylene
   92944       ETSC 000067 - 000068            6/20/2007 17:00                    6/20/2007 17:45                  0:45                                                                Flare Stack 23       FS23       Carbon Monoxide                   0.90          0.00 Polypropylene Unit are authorized under Permit Nos. 4600               1
                                                                                                                                         authorized                Unit: Line 8
                                                                                                                                                                                                                                                                                                                           and 8586.
                                                                                                                                                                                                                                                                                Scheduled shutdown of ExxonMobil Baytown Chemical
                                                                                                                                       Not Specifically                                                                                                                      Plant (BTCP) due to approach of Hurricane Ike. Portions of
  113885       ETSC 000112 - 000114            9/11/2008 11:00                     9/17/2008 6:00                 139:00                                          Chemical Plant       Flare Stack 23       FS23       Carbon Monoxide            2,659.20             0.00                                                             already counted
                                                                                                                                         authorized                                                                                                                         these units are permitted under Permits #20211, 4600 and
                                                                                                                                                                                                                                                                                                                              #36476.
                                                                                                                                                                                                                                                                              Solenoid coil failure on reactor diverter valve, resulting in
                                                                                                                                       Not Specifically           Polypropylene
   77100       ETSC 000094 - 000095             6/14/2006 4:37                     6/14/2006 9:10                  4:33                                                                Flare Stack 23       FS23       Carbon Monoxide              523.00             0.00 propylene flaring. Portions of this unit are authorized under          1               F, H
                                                                                                                                         authorized                Unit: Line 8
                                                                                                                                                                                                                                                                                                                            permit #4600.
                                                                                                                                                                                                                                                                                Scheduled shutdown of ExxonMobil Baytown Chemical
                                                                                                                                       Not Specifically                                                                                                                      Plant (BTCP) due to approach of Hurricane Ike. Portions of
  113885       ETSC 000112 - 000114            9/11/2008 11:00                     9/17/2008 6:00                 139:00                                          Chemical Plant       Flare Stack 24       FS24       Carbon Monoxide              111.20             0.00                                                                        6               F, H
                                                                                                                                         authorized                                                                                                                         these units are permitted under Permits #20211, 4600 and
                                                                                                                                                                                                                                                                                                                              #36476.

                                                                                                                                                                                                                                                                                   Compressor C-8745 malfunctioned during a controlled
                                                                                                                                       Not Specifically          Compressor C-
   76346       ETSC 000097 - 000098             5/25/2006 6:44                    5/25/2006 20:00                  13:16                                                               Flare Stack 24       FS24       Carbon Monoxide              161.00             0.00      shutdown of Line 8 and caused venting to flare stack 24.          1               F, H
                                                                                                                                         authorized             8745; BAPP Line 8
                                                                                                                                                                                                                                                                                  Portions of this unit are authorized under permit 4600.
                                                                                                                                                                                                                                                                                     During line re-inventory, pump shutdown resulted in
                                                                                                                                       Not Specifically             Propylene
   99726       ETSC 000059 - 000060             11/6/2007 1:42                     11/6/2007 8:15                  6:33                                                                Flare Stack 24       FS24       Carbon Monoxide              341.80             0.00 flaring. Event has ended. Portions of the PCU are authorized already counted
                                                                                                                                         authorized             Concentration Unit
                                                                                                                                                                                                                                                                                                                      under permit #4600.
                                                                                                                                                                                                                                                                                Solenoid coil failure on reactor diverter valve, resulting in
                                                                                                                                       Not Specifically           Polypropylene
   77100       ETSC 000094 - 000095             6/14/2006 4:37                     6/14/2006 9:10                  4:33                                                                Flare Stack 24       FS24       Carbon Monoxide                   6.00          0.00 propylene flaring. Portions of this unit are authorized under already counted
                                                                                                                                         authorized                Unit: Line 8
                                                                                                                                                                                                                                                                                                                             permit #4600.
                                                                                                                                                                                                                                                                              PCU motors C125 and C-130 shutoff due to internal failures
                                                                                                                                       Not Specifically             Propylene
   68234       ETSC 000049 - 000050            11/17/2005 22:45                   11/18/2005 3:00                  4:15                                                                    FS23             FS23       Carbon Monoxide              145.00             0.00     resulting in flaring. Portions of PCU are authorized under         1               F, H
                                                                                                                                         authorized             Concentration Unit
                                                                                                                                                                                                                                                                                                             Permit 4600 and Permit 9571.

                                                                                                                                                                                                                                                                              PCU motors C125 and C-130 shutoff due to internal failures
                                                                                                                                       Not Specifically             Propylene
   68234       ETSC 000049 - 000050            11/17/2005 22:45                   11/18/2005 3:00                  4:15                                                                    FS24             FS24       Carbon Monoxide               12.00             0.00     resulting in flaring. Portions of PCU are authorized under already counted
                                                                                                                                         authorized             Concentration Unit
                                                                                                                                                                                                                                                                                                             Permit 4600 and Permit 9571.
                                                                                                                                                                                                                                                                                                     TOTAL - CO - LIMIT 0 - PERMIT 4600           13               12

                                                                                                                                                                                                                                                                               During a rainstorm a lightning strike caused a temporary
                                                                                                                                                                                                                                                                                power disruption which resulted in damage to electrical
                                                                                                                                                                                                                                                                            components of the acid gas grid system. This damage lead
                                                                                                                                                                                                                                                                                   to intermittent flaring. Duration of emissions was 42
                                                                                                                                   No specific emissions
                                                                                                                                                                                                                                                                            minutes. Syngas Unit is authorized by Permit #36476/PSD-
   95950       ETSC 000065 - 000066             8/15/2007 3:40                     8/15/2007 4:22                  0:42            authorizations for this         Syngas Unit         Flare Stack 28       FS28       Carbon Monoxide               63.00             0.00                                                                        1               F, H
                                                                                                                                                                                                                                                                             TX-996M1. Date Start Stop Duration 8/15/2007 3:18 3:21
                                                                                                                                           facility
                                                                                                                                                                                                                                                                              );)3 min 8/15/2007 3:23 3:32 0:09 min 8/16/2007 14:03
                                                                                                                                                                                                                                                                                       14:11 0:08 min 8/16/2007 15:22 15:27 0:05 min
                                                                                                                                                                                                                                                                              8/16/2007 15:36 15:39 0:03 min 8/16/2007 15:42 15:50
                                                                                                                                                                                                                                                                                                 0:08 min 8/16/2007 15:51 15:57 0:06.

                                                                                                                                                                                                                                                                                Scheduled shutdown of ExxonMobil Baytown Chemical
                                                                                                                                       Not Specifically                                                                                                                      Plant (BTCP) due to approach of Hurricane Ike. Portions of
  113885       ETSC 000112 - 000114            9/11/2008 11:00                     9/17/2008 6:00                 139:00                                          Chemical Plant       Flare Stack 28       FS28       Carbon Monoxide              508.10             0.00                                                             already counted
                                                                                                                                         authorized                                                                                                                         these units are permitted under Permits #20211, 4600 and
                                                                                                                                                                                                                                                                                                                              #36476.
                                                                                                                                                                                                                                                                                                    TOTAL - CO - LIMIT 0 - PERMIT 36476            1                1
                                                                                                                                                                                                                                                                              PCU motors C125 and C-130 shutoff due to internal failures
                                                                                                                                       Not Specifically             Propylene
   68234       ETSC 000049 - 000050            11/17/2005 22:45                   11/18/2005 3:00                  4:15                                                                     FS9              FS9       Carbon Monoxide               84.00             0.00     resulting in flaring. Portions of PCU are authorized under already counted
                                                                                                                                         authorized             Concentration Unit
                                                                                                                                                                                                                                                                                                             Permit 4600 and Permit 9571.
                                                                                                                                                                                                                                                                                                                NO REPEATED VIOLATION
                                                                                                                                                                                                                                                                                  Power surge and subsequent stabilization of operations
                  ETSC 000134 -
                                                                                                                                   1 lb of 1 lb is authorized Baytown Chemical                                                                                                  lead to controlled partial shutdown and startup of various
  127839         000138; EOMCS                  8/6/2009 14:45                      8/7/2009 2:09                  11:24                                                             NRU Furnace F9B       F9ANRU      Carbon Monoxide                   1.00          0.30
                                                                                                                                        by Permit 5259              Plant                                                                                                       units. Portions of these units are permitted under Permits
               00232149 - 00232165
                                                                                                                                                                                                                                                                                                                #20211, 4600 and #36476.
                                                                                                                                                                                                                                                                                                           NO REPEATED VIOLATION
                                                                                                                                       Not Specifically                                                                                                                     Propylene flush to R5101 open during R5101 purge (Permit
  126665       ETSC 000130 - 000131            7/10/2009 13:00                    7/10/2009 21:00                  8:00                                         BAPP; FLARE LOOP       Flare Stack 24       FS24       Carbon Monoxide               47.70             7.20                                                          already counted
                                                                                                                                         authorized                                                                                                                                                                         # 8586).
                                                                                                                                                                                                                                                                                                           NO REPEATED VIOLATION
                                                                                                                                                                                                                                                                            Loss of compressor electrical motor for C-1 (methyl chloride
                                                                                                                                   0 lbs of the total .19 lbs    Butyl Polymer
                                                                                                                                                                                                                                                                              compressor) resulted in shutdown of Butyl Polymer Plant.
  143387       ETSC 000147 - 000148            8/10/2010 10:26                     8/11/2010 2:38                  16:12            are authorized under         Baytown Plant,        Flare Stack 12       FS12       Carbon Monoxide                   0.19         67.73                                                                        1
                                                                                                                                                                                                                                                                             Portions of the unit emissions are authorized under Permit
                                                                                                                                       permit # 20211                 BPB
                                                                                                                                                                                                                                                                                                                             No. 20211.
                                                                                         Case 4:10-cv-04969 Document 297-7 Filed on 10/19/20 in TXSD Page 3 of 9




                                                                                                                                                                                                  Power surge and subsequent stabilization of operations
            ETSC 000134 -
                                                                                   Not Specifically          Baytown Chemical                                                                   lead to controlled partial shutdown and startup of various
127839     000138; EOMCS        8/6/2009 14:45     8/7/2009 2:09     11:24                                                      Flare Stack 12   FS12   Carbon Monoxide        3.00    67.73                                                                     1              F, H
                                                                                     authorized                    Plant                                                                        units. Portions of these units are permitted under Permits
         00232149 - 00232165
                                                                                                                                                                                                                                #20211, 4600 and #36476.

                                                                                                                                                                                             Vapor release due to open valve on line from reactor heads
                                                                                  Portions may be
                                                                                                      Butyl Polymers, D-                                                                      drums. Minimal associated flaring of ethylene. Portions of
152424   ETSC 000153 - 000154   3/24/2011 8:50    3/24/2011 14:25     5:35    authorized under Permit                           Flare Stack 12   FS12   Carbon Monoxide        1.67    67.73                                                                     1              F, H
                                                                                                            26H/S                                                                              the unit emissions are authorized by Permit #20211. This
                                                                                      #20211
                                                                                                                                                                                                                                       event has ended.

                                                                              0 lbs of the total 54.82 lbs                                                                                           Methyl chloride compressor C-1 tripped, resulting in
                                                                                                              Butyl Polymer
152760   ETSC 000155 - 000156    4/1/2011 3:57     4/1/2011 7:04      3:07       are authorized under                           Flare Stack 12   FS12   Carbon Monoxide      54.82     67.73        subsequent flaring. Portions of the unit emissions are       1              F, H
                                                                                                              Baytown Plant
                                                                                    Permit #20211                                                                                                                    authorized under Permit No. 20211.



                                                                                                                                                                                                 The inlet piping to the Butyl Finishing area Regenerative
                                                                                                                                                                                               Thermal Oxidizer (RGTO) overpressured and burst. There
                                                                                                                                                                                               were several small fires associated with this event. Power
                                                                                                                                                                                                  was lost to a portion of the Butyl Polymers plant and a
                                                                                                                                                                                                    partial unit shutdown was initiated. To maintain safe
                                                                                                                                                                                                   operating pressures within the equipment, the diluent
                                                                                                              Butyl Polymers
                                                                                                                                                                                                  system was depressured to the flare (FS12) resulting in
                                7/2/2006 18:10     7/3/2006 16:10    22:00          Permit 20211               Unit; Rubber        Flare 12      FS12   Carbon Monoxide     169.00     72.40
                                                                                                                                                                                                     methyl chloride, hydrogen chloride and products of
                                                                                                               Holding Tank
                                                                                                                                                                                               combustion emissions. In addition, there were emissions
                                                                                                                                                                                                  associated with the unfinished rubber remaining in the
                                                                                                                                                                                               process equipment. These emissions were from the open
                                                                                                                                                                                             inlet piping associated with the RGTO and a rubber holding
                                                                                                                                                                                                tank (TK0030) adjacent to the rubber finishing area. This
                                                                                                                                                                                                                unit is permitted in part by Permit 20211.


                                                                                                                                                                                                    TOTAL - CO - LIMITS 67.73 & 72.40 - PERMIT 20211             4               3
                                                                                   Not Specifically                                                                                          Propylene flush to R5101 open during R5101 purge (Permit
126665   ETSC 000130 - 000131   7/10/2009 13:00   7/10/2009 21:00     8:00                                   BAPP; FLARE LOOP   Flare Stack 23   FS23   Carbon Monoxide     514.20     78.20                                                                     1              F, H
                                                                                     authorized                                                                                                                                              # 8586).
                                                                                                                                                                                                                            NO REPEATED VIOLATION
                                                                                                                                                                                                  Power surge and subsequent stabilization of operations
            ETSC 000134 -
                                                                              1 of 1 lbs are authorized Baytown Chemical        Chemical Plant                                                  lead to controlled partial shutdown and startup of various
127839     000138; EOMCS        8/6/2009 14:45     8/7/2009 2:09     11:24                                                                              Carbon Monoxide        1.00    91.18                                                               already counted
                                                                                   by Permit 5259             Plant               Furnaces                                                      units. Portions of these units are permitted under Permits
         00232149 - 00232165
                                                                                                                                                                                                                                #20211, 4600 and #36476.
                                                                                                                                                                                                                                 NO REPEATED VIOLATION
                                                                                61.7 of 61.7 lbs are                                                                                         Malfunction of control valve at Air Products Plant which led
173019   ETSC 072777 - 072778    9/1/2012 4:57     9/1/2012 5:18      0:21    authorized under Permit           Syngas Unit     Flare Stack 28   FS28   Carbon Monoxide        0.00   103.55 to flaring at FS-28. Portions of the emissions are authorized
                                                                              #36476/PSD-TX-996M1                                                                                                               by permit number 36476/PSD-TX-996M1.
                                                                                                                                                                                                                                 NO REPEATED VIOLATION
                                                                                                                                                                                                  Power surge and subsequent stabilization of operations
            ETSC 000134 -                                                        2.46 of 786 pounds
                                                                                                             Baytown Chemical                                                                   lead to controlled partial shutdown and startup of various
127839     000138; EOMCS        8/6/2009 14:45     8/7/2009 2:09     11:24      authorized by permit                            Fare Stack 24    FS24   Carbon Monoxide     786.00    840.59                                                               already counted
                                                                                                                   Plant                                                                        units. Portions of these units are permitted under Permits
         00232149 - 00232165                                                            4600
                                                                                                                                                                                                                                #20211, 4600 and #36476.

                                                                                                                                                                                                  Power surge and subsequent stabilization of operations
            ETSC 000134 -                                                       2.13 of 1069 pounds
                                                                                                             Baytown Chemical                                                                   lead to controlled partial shutdown and startup of various
127839     000138; EOMCS        8/6/2009 14:45     8/7/2009 2:09     11:24      authorized by Permit                            Flare Stack 23   FS23   Carbon Monoxide    1,069.00   840.59                                                                     1              F, H
                                                                                                                   Plant                                                                        units. Portions of these units are permitted under Permits
         00232149 - 00232165                                                            4600
                                                                                                                                                                                                                                #20211, 4600 and #36476.

                                                                                                                                                                                             While conducting a unit start-up at BAPP Line 4 following a
                                                                                                                                                                                               unit shutdown for Hurricane Ike, an electrical component
                                                                                                                                                                                              failed in a substation. This failure resulted in an automatic
                                                                                   Not Specifically            Polypropylene
114372   ETSC 000115 - 000116   9/22/2008 0:15     9/22/2008 5:00     4:45                                                      Flare Stack 23   FS23   Carbon Monoxide     296.40    840.59         unit shutdown with associated flaring for safety and        1              F, H
                                                                                     authorized                 Unit: Line 4
                                                                                                                                                                                             pressure control reasons. The event has ended. Portions of
                                                                                                                                                                                               the Polypropylene Unit are authorized under Permit Nos.
                                                                                                                                                                                                                                            4600 and 8586.

                                                                                                                                                                                             While conducting a unit start-up at BAPP Line 6 following a
                                                                                                                                                                                             unit shutdown for Hurricane Ike, a compressor shut down,
                                                                                   Not Specifically            Polypropylene
114463   ETSC 000117 - 000118   9/23/2008 6:45    9/23/2008 11:10     4:25                                                      Flare Stack 23   FS23   Carbon Monoxide     121.30    840.59 which resulted in propylene being sent to the flare system.         1              F, H
                                                                                     authorized                 Unit: Line 6
                                                                                                                                                                                               The event has ended. Portions of the Polypropylene Unit
                                                                                                                                                                                                      are authorized under Permit Nos. 4600 and 8586.

                                                                                                                                                                                                External mechanical seal failure on agitator. The event has
                                                                                   Not Specifically            Polypropylene
113195   ETSC 000110 - 000111   8/27/2008 10:15   8/27/2008 14:27     4:12                                                      Flare Stack 23   FS23   Carbon Monoxide     103.53    840.59     ended. Portions of the Polypropylene Unit are authorized        1              F, H
                                                                                     authorized                 Unit: Line 7
                                                                                                                                                                                                                       under Permit Nos. 4600 and 8586.
                                                                              1.7 of total of 78.1 lbs are                                                                                   Flaring due to system malfunction. Portions of this unit are
                                                                                                               Polypropylene
142965   ETSC 000143 - 000144   7/30/2010 22:09    7/31/2010 1:21     3:12     authorized under permit                          Flare Stack 23   FS23   Carbon Monoxide      76.40    840.59 covered under permits 8586 and 4600. All customer needs             1              F, H
                                                                                                                Unit, Line 8
                                                                                         4600                                                                                                                                                 were met.
                                                                                                                                                                                                External mechanical seal failure on agitator. The event has
                                                                                   Not Specifically            Polypropylene
113195   ETSC 000110 - 000111   8/27/2008 10:15   8/27/2008 14:27     4:12                                                      Flare Stack 24   FS24   Carbon Monoxide      75.20    840.59     ended. Portions of the Polypropylene Unit are authorized        1              F, H
                                                                                     authorized                 Unit: Line 7
                                                                                                                                                                                                                       under Permit Nos. 4600 and 8586.

                                                                                                                                                                                             While conducting a unit start-up at BAPP Line 4 following a
                                                                                                                                                                                               unit shutdown for Hurricane Ike, an electrical component
                                                                                                                                                                                              failed in a substation. This failure resulted in an automatic
                                                                                   Not Specifically            Polypropylene
114372   ETSC 000115 - 000116   9/22/2008 0:15     9/22/2008 5:00     4:45                                                      Flare Stack 24   FS24   Carbon Monoxide      39.50    840.59         unit shutdown with associated flaring for safety and already counted
                                                                                     authorized                 Unit: Line 4
                                                                                                                                                                                             pressure control reasons. The event has ended. Portions of
                                                                                                                                                                                               the Polypropylene Unit are authorized under Permit Nos.
                                                                                                                                                                                                                                            4600 and 8586.

                                                                                                                                                                                             While conducting a unit start-up at BAPP Line 6 following a
                                                                                                                                                                                             unit shutdown for Hurricane Ike, a compressor shut down,
                                                                                   Not Specifically            Polypropylene
114463   ETSC 000117 - 000118   9/23/2008 6:45    9/23/2008 11:10     4:25                                                      Flare Stack 24   FS24   Carbon Monoxide        7.10   840.59 which resulted in propylene being sent to the flare system. already counted
                                                                                     authorized                 Unit: Line 6
                                                                                                                                                                                               The event has ended. Portions of the Polypropylene Unit
                                                                                                                                                                                                      are authorized under Permit Nos. 4600 and 8586.

                                                                              8.7 of total of 19.1 lbs are                                                                                   Flaring due to system malfunction. Portions of this unit are
                                                                                                               Polypropylene
142965   ETSC 000143 - 000144   7/30/2010 22:09    7/31/2010 1:21     3:12     authorized under permit                          Flare Stack 24   FS24   Carbon Monoxide      10.40    840.59 covered under permits 8586 and 4600. All customer needs already counted
                                                                                                                Unit, Line 8
                                                                                         4600                                                                                                                                                 were met.
                                                                                                                                                                                                External mechanical seal failure on agitator. The event has
                                                                                   Not Specifically            Polypropylene
113195   ETSC 000110 - 000111   8/27/2008 10:15   8/27/2008 14:27     4:12                                                       Flare Stack 9   FS09   Carbon Monoxide        0.01   840.59     ended. Portions of the Polypropylene Unit are authorized        1
                                                                                     authorized                 Unit: Line 7
                                                                                                                                                                                                                       under Permit Nos. 4600 and 8586.

                                                                                                                                                                                                  Power surge and subsequent stabilization of operations
            ETSC 000134 -                                                        8.90 of 18 pounds
                                                                                                             Baytown Chemical                                                                   lead to controlled partial shutdown and startup of various
127839     000138; EOMCS        8/6/2009 14:45     8/7/2009 2:09     11:24      authorized by Permit                             Flare Stack 9   FS9    Carbon Monoxide      18.00    840.59                                                               already counted
                                                                                                                   Plant                                                                        units. Portions of these units are permitted under Permits
         00232149 - 00232165                                                            4600
                                                                                                                                                                                                                                #20211, 4600 and #36476.
                                                                                                                                                                                                                TOTAL - CO - LIMIT 840.59 - PERMIT 4600          7               6

                                                                                                                                                                                             During a planned unit startup, a restriction in a line resulted
                                                                                                                                                                                                  in flaring above permitted MSS hourly limits from Flare
                                                                                                                                                                                               Stack 28. Hourly MSS permit limit for COS exceeded in the
                                                                               272.18 lbs of the 272.18
                                                                                                         SYNGAS Unit, SGU                                                                    04:00-4:59 clock hour but no RQs exceeded during this time
133644   ETSC 000139 - 000140   12/23/2009 2:00   12/23/2009 17:30   15:30    lbs are authorized (Permit                        Flare Stack 28   FS28   Carbon Monoxide     471.11    992.28                                                                     1              F, H
                                                                                                              FS28                                                                               period. During the 05:00-05:59 clock hour, H2S and SO2
                                                                                        #36476
                                                                                                                                                                                              hourly MSS permit limits were exceeded as well as the SO2
                                                                                                                                                                                                     RQ. Portions of the unit are authorized under Permit
                                                                                                                                                                                                      #36476, PSD-TX 996M. Emissions event has ended.

                                                                              Permit Nos. 36476 & PSD-
102876   ETSC 000106 - 000107   1/26/2008 10:50   1/26/2008 13:55     3:05    TX-996M1 (Unauthorized Synthesis Gas Unit         Flare Stack 28   FS28   Carbon Monoxide    3,372.00   992.28                 Control Valve malfunction resulted in flaring.      1           F, H, R-NZ
                                                                                      = 687lbs)

                                                                                                             SYNGAS Unit, Air                                                                     During a strainer change at APCI, a pump cavitated. The
                                                                                  Portions may be
                                                                                                               Products and                                                                     subsequent unit upset resulted in acid gas flaring at FS28.
140499   ETSC 000141 - 000142   6/2/2010 10:30     6/2/2010 10:45     0:15      authorized under the                            Flare Stack 28   FS28   Carbon Monoxide      15.94    992.28                                                                     1              F, H
                                                                                                              Chemicals, Inc.                                                                     This event has ended. Portions of the unit emissions are
                                                                                   Permit #36476
                                                                                                                   APCI                                                                                                     authorized by Permit #36476.
                                                                                                                                                                                                               TOTAL - CO - LIMIT 992.28 - PERMIT 36476          3               3
                                                                                                                                                                                                 Scheduled shutdown of ExxonMobil Baytown Chemical
                                                                                   Not Specifically                                                                                           Plant (BTCP) due to approach of Hurricane Ike. Portions of
113885   ETSC 000112 - 000114   9/11/2008 11:00    9/17/2008 6:00    139:00                                   Chemical Plant    Flare Stack 28   FS28   Carbonyl Sulfide       0.30     0.00                                                                     6
                                                                                     authorized                                                                                              these units are permitted under Permits #20211, 4600 and
                                                                                                                                                                                                                                               #36476.

                                                                                                                                                                                                During a rainstorm a lightning strike caused a temporary
                                                                                                                                                                                                 power disruption which resulted in damage to electrical
                                                                                                                                                                                             components of the acid gas grid system. This damage lead
                                                                                                                                                                                                    to intermittent flaring. Duration of emissions was 42
                                                                                No specific emissions
                                                                                                                                                                                             minutes. Syngas Unit is authorized by Permit #36476/PSD-
95950    ETSC 000065 - 000066   8/15/2007 3:40     8/15/2007 4:22     0:42      authorizations for this         Syngas Unit     Flare Stack 28   FS28   Carbonyl Sulfide       3.00     0.00                                                                     1               F
                                                                                                                                                                                              TX-996M1. Date Start Stop Duration 8/15/2007 3:18 3:21
                                                                                        facility
                                                                                                                                                                                               );)3 min 8/15/2007 3:23 3:32 0:09 min 8/16/2007 14:03
                                                                                                                                                                                                        14:11 0:08 min 8/16/2007 15:22 15:27 0:05 min
                                                                                                                                                                                               8/16/2007 15:36 15:39 0:03 min 8/16/2007 15:42 15:50
                                                                                                                                                                                                                  0:08 min 8/16/2007 15:51 15:57 0:06.

                                                                                                                                                                                                                    TOTAL - COS - LIMIT 0 - PERMIT 36476         7               1
                                                                                                                                                                                             A spike in nitrogen pressure of key control valves lead to an
                                                                               0.04 lbs of the 1.23 lbs
                                                                                                                                                                                             automated diversion of a stream from the Clause system to
127416   ETSC 000132 - 000133   7/28/2009 21:40   7/28/2009 22:12     0:32     are authorized (Permit          SYNGAS Unit      Flare Stack 28   FS28   Carbonyl sulfide       1.23     0.04                                                                     1            F, R-NZ
                                                                                                                                                                                                   flare stack 28 (permit # 36476, PSD-TX-996M1) for 37
                                                                                      #36476)
                                                                                                                                                                                                                                                 minutes.
                                                                                0.08 of 4.92 lbs are                                                                                         Malfunction of control valve at Air Products Plant which led
173019   ETSC 072777 - 072778    9/1/2012 4:57     9/1/2012 5:18      0:21    authorized under Permit           Syngas Unit     Flare Stack 28   FS28   Carbonyl Sulfide       4.84     0.04 to flaring at FS-28. Portions of the emissions are authorized       1            F, R-NZ
                                                                              #36476/PSD-TX-996M1                                                                                                               by permit number 36476/PSD-TX-996M1.
                                                                                                                                                                                                                 TOTAL - COS - LIMIT 0.04 - PERMIT 36476         2               2
                                                                                         Case 4:10-cv-04969 Document 297-7 Filed on 10/19/20 in TXSD Page 4 of 9




                                                                                                                                                                                                       During a planned unit startup, a restriction in a line resulted
                                                                                                                                                                                                            in flaring above permitted MSS hourly limits from Flare
                                                                                                                                                                                                         Stack 28. Hourly MSS permit limit for COS exceeded in the
                                                                              21.60 lbs of the 38.64 lbs
                                                                                                         SYNGAS Unit, SGU                                                                              04:00-4:59 clock hour but no RQs exceeded during this time
133644   ETSC 000139 - 000140   12/23/2009 2:00   12/23/2009 17:30   15:30     are authorized (Permit                           Flare Stack 28      FS28     Carbonyl Sulfide         38.64       1.80                                                                   1      F, R-NZ
                                                                                                              FS28                                                                                         period. During the 05:00-05:59 clock hour, H2S and SO2
                                                                                      #36476)
                                                                                                                                                                                                        hourly MSS permit limits were exceeded as well as the SO2
                                                                                                                                                                                                               RQ. Portions of the unit are authorized under Permit
                                                                                                                                                                                                                #36476, PSD-TX 996M. Emissions event has ended.

                                                                                                                                                                                                       Power disturbance caused Train 2 to trip resulting in Syngas
                                                                               2.34 lbs out of the total
                                                                                                                                                                                                         and Air products unit shutdowns and subsequent flaring.
155989   ETSC 000157 - 000158   6/21/2011 10:25   6/21/2011 23:19    12:54     3.16 lbs are authorized SYNGAS Unit (SGU)        Flare Stack 28      FS28     Carbonyl Sulfide          0.83       1.80                                                                   1
                                                                                                                                                                                                        Portions of the unit emissions are authorized under Permit
                                                                                under Permit #36476
                                                                                                                                                                                                                                                           #36476.

                                                                                                                                                                                                         Unit shutdown at Air Products (APCI) resulted in flaring at
                                                                              2.6 lbs of the 5.4 lbs are SYNGAS Unit (SGU)
                                                                                                                                                                                                                Flare Stack 28. The SO2 RW qas not exceeded until
147288   ETSC 000149 - 000150   11/11/2010 5:03   11/11/2010 8:16     3:13       authorized (Permit       / Air Products and    Flare Stack 28      FS28     Carbonyl Sulfide          2.90       1.80                                                                   1         F
                                                                                                                                                                                                         11/11/10 05:45. Portions of the unit are authorized under
                                                                                       #36476)                 Chemicals
                                                                                                                                                                                                       Permit #36476, PSD-TX 996M1. Emissions event has ended.

                                                                              Permit Nos. 36476 & PSD-
102876   ETSC 000106 - 000107   1/26/2008 10:50   1/26/2008 13:55     3:05    TX-996M1 (Unauthorized Synthesis Gas Unit         Flare Stack 28      FS28     Carbonyl Sulfide          8.40       1.80                  Control Valve malfunction resulted in flaring.   1      F, R-NZ
                                                                                      = 3.0lbs)

                                                                                                            SYNGAS Unit, Air                                                                                 During a strainer change at APCI, a pump cavitated. The
                                                                                  Portions may be
                                                                                                              Products and                                                                                 subsequent unit upset resulted in acid gas flaring at FS28.
140499   ETSC 000141 - 000142   6/2/2010 10:30     6/2/2010 10:45     0:15      authorized under the                            Flare Stack 28      FS28     Carbonyl Sulfide          1.53       1.80                                                                   1         F
                                                                                                             Chemicals, Inc.                                                                                 This event has ended. Portions of the unit emissions are
                                                                                   Permit #36476
                                                                                                                  APCI                                                                                                                 authorized by Permit #36476.
                                                                                                                                                                                                                           TOTAL - COS - LIMIT 1.80 - PERMIT 36476       5         4
                                                                                                                                                                                                           Scheduled shutdown of ExxonMobil Baytown Chemical
                                                                                   Not Specifically                                                                                                     Plant (BTCP) due to approach of Hurricane Ike. Portions of
113885   ETSC 000112 - 000114   9/11/2008 11:00    9/17/2008 6:00    139:00                                 Chemical Plant      Flare Stack 12      FS12     Hydrochloric acid     3,821.00       0.00                                                                   6         F
                                                                                     authorized                                                                                                        these units are permitted under Permits #20211, 4600 and
                                                                                                                                                                                                                                                         #36476.
                                                                                                                                                                                                             SUBTOTAL of HYDROGEN CHLORIDE - LIMIT 0 - PERMIT
                                                                                                                                                                                                                                                                         6         6
                                                                                                                                                                                                                                                        20211
                                                                                10.56 lbs of the total
                                                                                                                                                                                                                Methyl chloride compressor C-1 tripped, resulting in
                                                                                  6653.43 lbs are            Butyl Polymer                                                                                                                                                   F, R-NZ, R-RQ,
152760   ETSC 000155 - 000156    4/1/2011 3:57     4/1/2011 7:04      3:07                                                      Flare Stack 12      FS12     Hydrochloric acid     6,642.87   1,132.10         subsequent flaring. Portions of the unit emissions are    1
                                                                              authorized under Permit        Baytown Plant                                                                                                                                                        R-M
                                                                                                                                                                                                                                authorized under Permit No. 20211.
                                                                                       #20211
                                                                                                                                                                                                             SUBTOTAL of HYDROGEN CHLORIDE - LIMIT 1132.10 -
                                                                                                                                                                                                                                                                         1         1
                                                                                                                                                                                                                                                      PERMIT 20211
                                                                                                                                                                                                            Valve packing failure on catalyst control valve (EF-003).
                                                                                   Not Specifically         Butyl Polymers     Catalyst regulator               Hydrogen
68191    ETSC 000051 - 000052   11/17/2005 6:05   11/17/2005 10:05    4:00                                                                          EF-003                             1.00       0.00    Portions of the Butyl Polymers plant are authorized under      1
                                                                                     authorized                  Unit                valve                      Chloride
                                                                                                                                                                                                                                                     permit #20211.
                                                                                                                                                                                                                  High vibration in compressor C-1 (methyl chloride
                                                                               No specific emissions
                                                                                                                                                                Hydrogen                                    compressor) resulted in multiple shutdowns. Portions of
91125    ETSC 000071 - 000072   5/14/2007 7:05    5/18/2007 13:20    102:15    authorizations for this        Butyl Plant       Flare Stack 12      FS12                         132,538.00       0.00                                                                   5      F, R-RQ
                                                                                                                                                                Chloride                                   the Butyl Plant are authorized under Flexible Permits No.
                                                                                       facility
                                                                                                                                                                                                                                                   4600 and 20211.


                                                                                                                                                                                                                 Methyl chloride and hexane entered a compressor
                                                                                                                                                                                                           knockout drum during a unit startup resulting in flaring.
                                                                                                                                                                                                       Event has ended. Portions of the Butyl Plant are authorized
                                                                                                                                                                                                        under Flexible Permits No. 4600 and 20211. Event started
                                                                                                                                                                                                       at 6:50pm on 5/27/07, but did not become reportable until
                                                                                   Not Specifically                                                             Hydrogen
91743    ETSC 000069 - 000070   5/28/2007 11:15    5/30/2007 1:50    38:35                                    Butyl Plant       Flare Stack 12      FS12                           4,323.00       0.00 5/28/07 at 12:05. Main flaring ceased at ~18:50 5/2/07. A         2         F
                                                                                     authorized                                                                 Chloride
                                                                                                                                                                                                      small amount of flaring occurred the next day (5/29/07) but
                                                                                                                                                                                                                did not exceed any RQs. This 5/29/07 flaring is also
                                                                                                                                                                                                         included because it is associated with the 5/27/07 flaring.
                                                                                                                                                                                                       Hours listed in Duration section do not include time periods
                                                                                                                                                                                                                      when there were no unauthorized emissions.

                                                                                                                                                                                                             SUBTOTALof HYDROGEN CHLORIDE - LIMIT 0 - PERMIT
                                                                                                                                                                                                                                                                         8         7
                                                                                                                                                                                                                                                       20211


                                                                                                                                                                                                           The inlet piping to the Butyl Finishing area Regenerative
                                                                                                                                                                                                         Thermal Oxidizer (RGTO) overpressured and burst. There
                                                                                                                                                                                                         were several small fires associated with this event. Power
                                                                                                                                                                                                            was lost to a portion of the Butyl Polymers plant and a
                                                                                                                                                                                                              partial unit shutdown was initiated. To maintain safe
                                                                                                                                                                                                             operating pressures within the equipment, the diluent
                                                                                                            Butyl Polymers
                                                                                                                                                                Hydrogen                                    system was depressured to the flare (FS12) resulting in          F, R-NZ, R-RQ,
78040    ETSC 000090 - 000091   7/2/2006 18:10     7/3/2006 16:10    22:00          Permit 20211             Unit; Rubber          Flare 12         FS12                          46,681.00   1,061.34                                                                   1
                                                                                                                                                                Chloride                                       methyl chloride, hydrogen chloride and products of                 R-M
                                                                                                             Holding Tank
                                                                                                                                                                                                         combustion emissions. In addition, there were emissions
                                                                                                                                                                                                            associated with the unfinished rubber remaining in the
                                                                                                                                                                                                         process equipment. These emissions were from the open
                                                                                                                                                                                                       inlet piping associated with the RGTO and a rubber holding
                                                                                                                                                                                                          tank (TK0030) adjacent to the rubber finishing area. This
                                                                                                                                                                                                                          unit is permitted in part by Permit 20211.



                                                                                                                                                                                                       Loss of compressor electrical motor for C-1 (methyl chloride
                                                                                56.82 lbs of the total      Butyl Polymer
                                                                                                                                                                Hydrogen                                 compressor) resulted in shutdown of Butyl Polymer Plant.
143387   ETSC 000147 - 000148   8/10/2010 10:26    8/11/2010 2:38    16:12    9042.8 lbs are authorized     Baytown Plant,      Flare Stack 12      FS12                           8,985.98   1,132.10                                                                   1      F, R-RQ
                                                                                                                                                                Chloride                                Portions of the unit emissions are authorized under Permit
                                                                               under permit # 20211              BPB
                                                                                                                                                                                                                                                        No. 20211.
                                                                                 11321.00 lbs of the
                                                                                                                                                                                                              Compressor C-1 (methyl chloride compressor) tripped.
                                                                                  20500.68 lbs are                                                              Hydrogen
166583   ETSC 068631 - 068632   3/29/2012 0:04     3/29/2012 9:59     9:55                                    Butyl Plant       Flare Stack 12      FS12                           9,179.68   1,132.10      Portions of the Butyl Plant emissions were authorized by     1      F, R-RQ
                                                                                authorized by Permit                                                            Chloride
                                                                                                                                                                                                                               permit #20211. This event has ended.
                                                                                       20211
                                                                                                                                                                                                         SUBTOTAL of HYDROGEN CHLORIDE - LIMIT 1061 & 11322 -
                                                                                                                                                                                                                                                                         3         3
                                                                                                                                                                                                                                                PERMIT 20211

                                                                                                                                                                                                          During a rainstorm a lightning strike caused a temporary
                                                                                                                                                                                                           power disruption which resulted in damage to electrical
                                                                                                                                                                                                       components of the acid gas grid system. This damage lead
                                                                                                                                                                                                              to intermittent flaring. Duration of emissions was 42
                                                                               No specific emissions
                                                                                                                                                                                                       minutes. Syngas Unit is authorized by Permit #36476/PSD-
95950    ETSC 000065 - 000066   8/15/2007 3:40     8/15/2007 4:22     0:42     authorizations for this        Syngas Unit       Flare Stack 28      FS28     Hydrogen cyanide          0.10       0.00                                                                   1
                                                                                                                                                                                                        TX-996M1. Date Start Stop Duration 8/15/2007 3:18 3:21
                                                                                       facility
                                                                                                                                                                                                         );)3 min 8/15/2007 3:23 3:32 0:09 min 8/16/2007 14:03
                                                                                                                                                                                                                  14:11 0:08 min 8/16/2007 15:22 15:27 0:05 min
                                                                                                                                                                                                         8/16/2007 15:36 15:39 0:03 min 8/16/2007 15:42 15:50
                                                                                                                                                                                                                            0:08 min 8/16/2007 15:51 15:57 0:06.

                                                                                                                                                                                                                                         NO REPEATED VIOLATION
                                                                                                                                                                                                       A spike in nitrogen pressure of key control valves lead to an
                                                                              0.1 lbs of the 0.29 lbs are
                                                                                                                                                                                                       automated diversion of a stream from the Clause system to
127416   ETSC 000132 - 000133   7/28/2009 21:40   7/28/2009 22:12     0:32       authorized (Permit          SYNGAS Unit        Flare Stack 28      FS28     Hydrogen Cyanide          0.29       0.10                                                                   1      F, R-NZ
                                                                                                                                                                                                             flare stack 28 (permit # 36476, PSD-TX-996M1) for 37
                                                                                       #36476)
                                                                                                                                                                                                                                                           minutes.
                                                                               0.023 of 0.095 lbs are                                                                                                  Malfunction of control valve at Air Products Plant which led
173019   ETSC 072777 - 072778    9/1/2012 4:57     9/1/2012 5:18      0:21    authorized under Permit         Syngas Unit       Flare Stack 28      FS28     Hydrogen Cyanide          0.07       0.10 to flaring at FS-28. Portions of the emissions are authorized     1
                                                                              #36476/PSD-TX-996M1                                                                                                                         by permit number 36476/PSD-TX-996M1.
                                                                                                                                                                                                                          TOTAL- HCN - LIMIT 0.10 - PERMIT 36476         2         1

                                                                                                                                                                                                       During a planned unit startup, a restriction in a line resulted
                                                                                                                                                                                                            in flaring above permitted MSS hourly limits from Flare
                                                                                                                                                                                                         Stack 28. Hourly MSS permit limit for COS exceeded in the
                                                                               340.46 lbs of the 510.96
                                                                                                         SYNGAS Unit, SGU                                                                              04:00-4:59 clock hour but no RQs exceeded during this time
133644   ETSC 000139 - 000140   12/23/2009 2:00   12/23/2009 17:30   15:30    lbs are authorized (Permit                        Flare Stack 28      FS28     Hydrogen Cyanide          4.03       3.31                                                                   1         F
                                                                                                              FS28                                                                                         period. During the 05:00-05:59 clock hour, H2S and SO2
                                                                                        #36476
                                                                                                                                                                                                        hourly MSS permit limits were exceeded as well as the SO2
                                                                                                                                                                                                               RQ. Portions of the unit are authorized under Permit
                                                                                                                                                                                                                #36476, PSD-TX 996M. Emissions event has ended.

                                                                                                                                                                                                                          TOTAL - HCN - LIMIT 3.31 - PERMIT 36476
                                                                                                                                                                                                           Scheduled shutdown of ExxonMobil Baytown Chemical
                                                                                   Not Specifically                                                                                                     Plant (BTCP) due to approach of Hurricane Ike. Portions of
113885   ETSC 000112 - 000114   9/11/2008 11:00    9/17/2008 6:00    139:00                                 Chemical Plant      Flare Stack 28      FS28     Hydrogen Sulfide          5.10       0.00                                                                   6         F
                                                                                     authorized                                                                                                        these units are permitted under Permits #20211, 4600 and
                                                                                                                                                                                                                                                         #36476.

                                                                                                                                                                                                          During a rainstorm a lightning strike caused a temporary
                                                                                                                                                                                                           power disruption which resulted in damage to electrical
                                                                                                                                                                                                       components of the acid gas grid system. This damage lead
                                                                                                                                                                                                              to intermittent flaring. Duration of emissions was 42
                                                                               No specific emissions
                                                                                                                                                                                                       minutes. Syngas Unit is authorized by Permit #36476/PSD-
95950    ETSC 000065 - 000066   8/15/2007 3:40     8/15/2007 4:22     0:42     authorizations for this        Syngas Unit       Flare Stack 28      FS28     Hydrogen Sulfide         42.00       0.00                                                                   1         F
                                                                                                                                                                                                        TX-996M1. Date Start Stop Duration 8/15/2007 3:18 3:21
                                                                                       facility
                                                                                                                                                                                                         );)3 min 8/15/2007 3:23 3:32 0:09 min 8/16/2007 14:03
                                                                                                                                                                                                                  14:11 0:08 min 8/16/2007 15:22 15:27 0:05 min
                                                                                                                                                                                                         8/16/2007 15:36 15:39 0:03 min 8/16/2007 15:42 15:50
                                                                                                                                                                                                                            0:08 min 8/16/2007 15:51 15:57 0:06.

                                                                                                                                                                                                             TOTAL - HYDROGEN SULFIDE - LIMIT 0 - PERMIT 36476           7         7
                                                                                                                                                                                                       A spike in nitrogen pressure of key control valves lead to an
                                                                               0.7 lbs of the 18.97 lbs
                                                                                                                                                                                                       automated diversion of a stream from the Clause system to
127416   ETSC 000132 - 000133   7/28/2009 21:40   7/28/2009 22:12     0:32     are authorized (Permit        SYNGAS Unit        Flare Stack 28      FS28     Hydrogen Sulfide         17.59       0.70                                                                   1      F, R-NZ
                                                                                                                                                                                                             flare stack 28 (permit # 36476, PSD-TX-996M1) for 37
                                                                                       #36476)
                                                                                                                                                                                                                                                           minutes.
                                                                                 1.4 of 70.2 lbs are                                                                                                   Malfunction of control valve at Air Products Plant which led
173019   ETSC 072777 - 072778    9/1/2012 4:57     9/1/2012 5:18      0:21    authorized under Permit         Syngas Unit       Flare Stack 28      FS28     Hydrogen Sulfide         68.80       0.70 to flaring at FS-28. Portions of the emissions are authorized     1      F, R-NZ
                                                                              #36476/PSD-TX-996M1                                                                                                                         by permit number 36476/PSD-TX-996M1.

                                                                                                                                                                                                          TOTAL - HYDROGEN SULFIDE - LIMIT 0.70 - PERMIT 36476           2         2
                                                                                         Case 4:10-cv-04969 Document 297-7 Filed on 10/19/20 in TXSD Page 5 of 9




                                                                                                                                                                                                   During a planned unit startup, a restriction in a line resulted
                                                                                                                                                                                                        in flaring above permitted MSS hourly limits from Flare
                                                                                                                                                                                                     Stack 28. Hourly MSS permit limit for COS exceeded in the
                                                                               340.46 lbs of the 550.69
                                                                                                         SYNGAS Unit, SGU                                                                          04:00-4:59 clock hour but no RQs exceeded during this time
133644   ETSC 000139 - 000140   12/23/2009 2:00   12/23/2009 17:30   15:30    lbs are authorized (Permit                          Flare Stack 28    FS28    Hydrogen Sulfide    550.69       28.40                                                                     1           F, R-NZ, R-RQ
                                                                                                              FS28                                                                                     period. During the 05:00-05:59 clock hour, H2S and SO2
                                                                                       #36476)
                                                                                                                                                                                                    hourly MSS permit limits were exceeded as well as the SO2
                                                                                                                                                                                                           RQ. Portions of the unit are authorized under Permit
                                                                                                                                                                                                            #36476, PSD-TX 996M. Emissions event has ended.

                                                                                                                                                                                                   Power disturbance caused Train 2 to trip resulting in Syngas
                                                                              37.3 lbs out of the total
                                                                                                                                                                                                     and Air products unit shutdowns and subsequent flaring.
155989   ETSC 000157 - 000158   6/21/2011 10:25   6/21/2011 23:19    12:54    52.41 lbs are authorized SYNGAS Unit (SGU)          Flare Stack 28    FS28    Hydrogen Sulfide     15.11       28.40                                                                     1                 F
                                                                                                                                                                                                    Portions of the unit emissions are authorized under Permit
                                                                               under Permit #36476
                                                                                                                                                                                                                                                       #36476.

                                                                                                                                                                                                     Unit shutdown at Air Products (APCI) resulted in flaring at
                                                                               40.4 lbs of the 78.3 lbs    SYNGAS Unit (SGU)
                                                                                                                                                                                                            Flare Stack 28. The SO2 RW qas not exceeded until
147288   ETSC 000149 - 000150   11/11/2010 5:03   11/11/2010 8:16     3:13     are authorized (Permit       / Air Products and    Flare Stack 28    FS28    Hydrogen Sulfide     37.90       28.40                                                                     1                 F
                                                                                                                                                                                                     11/11/10 05:45. Portions of the unit are authorized under
                                                                                      #36476)                    Chemicals
                                                                                                                                                                                                   Permit #36476, PSD-TX 996M1. Emissions event has ended.

                                                                              Permit Nos. 36476 & PSD-
102876   ETSC 000106 - 000107   1/26/2008 10:50   1/26/2008 13:55     3:05    TX-996M1 (Unauthorized Synthesis Gas Unit           Flare Stack 28    FS28    Hydrogen Sulfide    118.00       28.40                 Control Valve malfunction resulted in flaring.      1           F, R-NZ, R-RQ
                                                                                     = 35.9lbs)

                                                                                                            SYNGAS Unit, Air                                                                            During a strainer change at APCI, a pump cavitated. The
                                                                                  Portions may be
                                                                                                              Products and                                                                            subsequent unit upset resulted in acid gas flaring at FS28.
140499   ETSC 000141 - 000142   6/2/2010 10:30     6/2/2010 10:45     0:15      authorized under the                              Flare Stack 28    FS28    Hydrogen Sulfide     21.82       28.40                                                                     1                 F
                                                                                                             Chemicals, Inc.                                                                            This event has ended. Portions of the unit emissions are
                                                                                   Permit #36476
                                                                                                                  APCI                                                                                                            authorized by Permit #36476.

                                                                                                                                                                                                     TOTAL - HYDROGEN SULFIDE - LIMIT 28.40 - PERMIT 36476             5                5

                                                                               0.004 of 0.018 lbs are                                                                                              Malfunction of control valve at Air Products Plant which led
173019   ETSC 072777 - 072778    9/1/2012 4:57     9/1/2012 5:18      0:21    authorized under Permit         Syngas Unit         Flare Stack 28    FS28       Methanol            0.01       0.10 to flaring at FS-28. Portions of the emissions are authorized       1
                                                                              #36476/PSD-TX-996M1                                                                                                                     by permit number 36476/PSD-TX-996M1.
                                                                                                                                                                                                                                       NO REPEATED VIOLATION

                                                                                                                                                                                                   During a planned unit startup, a restriction in a line resulted
                                                                                                                                                                                                        in flaring above permitted MSS hourly limits from Flare
                                                                                                                                                                                                     Stack 28. Hourly MSS permit limit for COS exceeded in the
                                                                              0.7 lbs of the 0.7 lbs are
                                                                                                           SYNGAS Unit, SGU                                                                        04:00-4:59 clock hour but no RQs exceeded during this time
133644   ETSC 000139 - 000140   12/23/2009 2:00   12/23/2009 17:30   15:30       authorized (Permit                               Flare Stack 28    FS28       Methanol            0.77       3.31
                                                                                                                FS28                                                                                   period. During the 05:00-05:59 clock hour, H2S and SO2
                                                                                       #36476
                                                                                                                                                                                                    hourly MSS permit limits were exceeded as well as the SO2
                                                                                                                                                                                                           RQ. Portions of the unit are authorized under Permit
                                                                                                                                                                                                            #36476, PSD-TX 996M. Emissions event has ended.

                                                                                                                                                                                                                                       NO REPEATED VIOLATION


                                                                                                                                                                                                       The inlet piping to the Butyl Finishing area Regenerative
                                                                                                                                                                                                     Thermal Oxidizer (RGTO) overpressured and burst. There
                                                                                                                                                                                                     were several small fires associated with this event. Power
                                                                                                                                                                                                        was lost to a portion of the Butyl Polymers plant and a
                                                                                                                                                                                                          partial unit shutdown was initiated. To maintain safe
                                                                                                                                                                                                         operating pressures within the equipment, the diluent
                                                                                                             Butyl Polymers
                                                                                                                                                                                                        system was depressured to the flare (FS12) resulting in
78040    ETSC 000090 - 000091   7/2/2006 18:10     7/3/2006 16:10    22:00          Permit 20211              Unit; Rubber           Flare 12       FS12    Methyl Chloride    1,319.00   2,145.63
                                                                                                                                                                                                           methyl chloride, hydrogen chloride and products of
                                                                                                              Holding Tank
                                                                                                                                                                                                     combustion emissions. In addition, there were emissions
                                                                                                                                                                                                        associated with the unfinished rubber remaining in the
                                                                                                                                                                                                     process equipment. These emissions were from the open
                                                                                                                                                                                                   inlet piping associated with the RGTO and a rubber holding
                                                                                                                                                                                                      tank (TK0030) adjacent to the rubber finishing area. This
                                                                                                                                                                                                                      unit is permitted in part by Permit 20211.


                                                                                                                                                                                                                                       NO REPEATED VIOLATION
                                                                                                                                                                                                         Compressor C-8745 malfunctioned during a controlled
                                                                                   Not Specifically         Compressor C-
76346    ETSC 000097 - 000098   5/25/2006 6:44    5/25/2006 20:00    13:16                                                           Flare 24       FS24    Nitrogen Oxides      21.00        0.00     shutdown of Line 8 and caused venting to flare stack 24.        1               F, H
                                                                                     authorized            8745; BAPP Line 8
                                                                                                                                                                                                        Portions of this unit are authorized under permit 4600.
                                                                                                                                                                                                                    SUBTOTAL OF NOX - LIMIT 0 - PERMIT 4600            1                1
                                                                                 3.6 of 8.6 lbs are                                                                                                Malfunction of control valve at Air Products Plant which led
173019   ETSC 072777 - 072778    9/1/2012 4:57     9/1/2012 5:18      0:21    authorized under Permit         Syngas Unit         Flare Stack 28    FS28    Nitrogen Oxides        5.00       3.00 to flaring at FS-28. Portions of the emissions are authorized       1            F, H, R-NZ
                                                                              #36476/PSD-TX-996M1                                                                                                                     by permit number 36476/PSD-TX-996M1.
                                                                                                                                                                                                                SUBTOTAL OF NOX - LIMIT 3.00 - PERMIT 36476            1                1
                                                                                                                                                                                                              High vibration in compressor C-1 (methyl chloride
                                                                               No specific emissions
                                                                                                                                                                                                        compressor) resulted in multiple shutdowns. Portions of
91125    ETSC 000071 - 000072   5/14/2007 7:05    5/18/2007 13:20    102:15    authorizations for this         Butyl Plant        Flare Stack 12    FS12         NOX            163.00        0.00                                                                     5               F, H
                                                                                                                                                                                                       the Butyl Plant are authorized under Flexible Permits No.
                                                                                       facility
                                                                                                                                                                                                                                               4600 and 20211.


                                                                                                                                                                                                             Methyl chloride and hexane entered a compressor
                                                                                                                                                                                                       knockout drum during a unit startup resulting in flaring.
                                                                                                                                                                                                   Event has ended. Portions of the Butyl Plant are authorized
                                                                                                                                                                                                    under Flexible Permits No. 4600 and 20211. Event started
                                                                                                                                                                                                   at 6:50pm on 5/27/07, but did not become reportable until
                                                                                   Not Specifically
91743    ETSC 000069 - 000070   5/28/2007 11:15    5/30/2007 1:50    38:35                                     Butyl Plant        Flare Stack 12    FS12         NOX               6.00       0.00 5/28/07 at 12:05. Main flaring ceased at ~18:50 5/2/07. A           2               F, H
                                                                                     authorized
                                                                                                                                                                                                  small amount of flaring occurred the next day (5/29/07) but
                                                                                                                                                                                                            did not exceed any RQs. This 5/29/07 flaring is also
                                                                                                                                                                                                     included because it is associated with the 5/27/07 flaring.
                                                                                                                                                                                                   Hours listed in Duration section do not include time periods
                                                                                                                                                                                                                  when there were no unauthorized emissions.


                                                                                                                                                                                                       Scheduled shutdown of ExxonMobil Baytown Chemical
                                                                                   Not Specifically                                                                                                 Plant (BTCP) due to approach of Hurricane Ike. Portions of
113885   ETSC 000112 - 000114   9/11/2008 11:00    9/17/2008 6:00    139:00                                  Chemical Plant       Flare Stack 12    FS12         NOX             31.00        0.00                                                             already counted
                                                                                     authorized                                                                                                    these units are permitted under Permits #20211, 4600 and
                                                                                                                                                                                                                                                     #36476.
                                                                                                                                                                                                                    SUBTOTAL OF NOX - LIMIT 0 - PERMIT 20211           7                7
                                                                                                                                                                                                            During line re-inventory, pump shutdown resulted in
                                                                                   Not Specifically            Propylene
99726    ETSC 000059 - 000060   11/6/2007 1:42     11/6/2007 8:15     6:33                                                        Flare Stack 23    FS23         NOX             55.90        0.00 flaring. Event has ended. Portions of the PCU are authorized        1               F, H
                                                                                     authorized            Concentration Unit
                                                                                                                                                                                                                                           under permit #4600.
                                                                                                                                                                                                           Compressor C-8745 shut down due to a fault in a low
                                                                                   Not Specifically          Polypropylene                                                                            suction pressure switch. The event has ended. Portions of
88629    ETSC 000073 - 000074   3/20/2007 20:40    3/21/2007 2:29     5:49                                                        Flare stack 23    FS23         NOX             17.00        0.00                                                                     1               F, H
                                                                                     authorized               Unit: Line 8                                                                           the Propylene Unit are authorized under Permit Nos. 4600
                                                                                                                                                                                                                                                      and 8586.
                                                                                                                                                                                                       Safety relief valve on the 8753B transfer system relieved
                                                                                   Not Specifically          Polypropylene
83779    ETSC 000079 - 000080   11/12/2006 8:47   11/12/2006 10:55    2:08                                                        Flare Stack 23    FS23         NOX             21.00        0.00      early. Portions of the Polypropylene Unit are authorized       1               F, H
                                                                                     authorized               Unit: Line 8
                                                                                                                                                                                                                                under Permit Nos. 4600 & 8586.
                                                                                                                                                                                                        Pump seal leak. The event has ended. Portions of the
                                                                                   Not Specifically          Polypropylene
92944    ETSC 000067 - 000068   6/20/2007 17:00   6/20/2007 17:45     0:45                                                        Flare Stack 23    FS23         NOX               0.10       0.00 Polypropylene Unit are authorized under Permit Nos. 4600            1
                                                                                     authorized               Unit: Line 8
                                                                                                                                                                                                                                                  and 8586.
                                                                                                                                                                                                       Scheduled shutdown of ExxonMobil Baytown Chemical
                                                                                   Not Specifically                                                                                                 Plant (BTCP) due to approach of Hurricane Ike. Portions of
113885   ETSC 000112 - 000114   9/11/2008 11:00    9/17/2008 6:00    139:00                                  Chemical Plant       Flare Stack 23    FS23         NOX            480.00        0.00                                                             already counted
                                                                                     authorized                                                                                                    these units are permitted under Permits #20211, 4600 and
                                                                                                                                                                                                                                                     #36476.

                                                                                                                                                                                                       Scheduled shutdown of ExxonMobil Baytown Chemical
                                                                                   Not Specifically                                                                                                 Plant (BTCP) due to approach of Hurricane Ike. Portions of
113885   ETSC 000112 - 000114   9/11/2008 11:00    9/17/2008 6:00    139:00                                  Chemical Plant       Flare Stack 24    FS24         NOX             20.40        0.00                                                                     6               F, H
                                                                                     authorized                                                                                                    these units are permitted under Permits #20211, 4600 and
                                                                                                                                                                                                                                                     #36476.
                                                                                                                                                                                                            During line re-inventory, pump shutdown resulted in
                                                                                   Not Specifically            Propylene
99726    ETSC 000059 - 000060   11/6/2007 1:42     11/6/2007 8:15     6:33                                                        Flare Stack 24    FS24         NOX             47.30        0.00 flaring. Event has ended. Portions of the PCU are authorized already counted
                                                                                     authorized            Concentration Unit
                                                                                                                                                                                                                                           under permit #4600.
                                                                                                                                                                                                                     SUBTOTAL OF NOX - LIMIT 0 - PERMIT 4600          10                9

                                                                                                                                                                                                      During a rainstorm a lightning strike caused a temporary
                                                                                                                                                                                                       power disruption which resulted in damage to electrical
                                                                                                                                                                                                   components of the acid gas grid system. This damage lead
                                                                                                                                                                                                          to intermittent flaring. Duration of emissions was 42
                                                                               No specific emissions
                                                                                                                                                                                                   minutes. Syngas Unit is authorized by Permit #36476/PSD-
95950    ETSC 000065 - 000066   8/15/2007 3:40     8/15/2007 4:22     0:42     authorizations for this        Syngas Unit         Flare Stack 28    FS28         NOX               8.00       0.00                                                                     1               F, H
                                                                                                                                                                                                    TX-996M1. Date Start Stop Duration 8/15/2007 3:18 3:21
                                                                                       facility
                                                                                                                                                                                                     );)3 min 8/15/2007 3:23 3:32 0:09 min 8/16/2007 14:03
                                                                                                                                                                                                              14:11 0:08 min 8/16/2007 15:22 15:27 0:05 min
                                                                                                                                                                                                     8/16/2007 15:36 15:39 0:03 min 8/16/2007 15:42 15:50
                                                                                                                                                                                                                        0:08 min 8/16/2007 15:51 15:57 0:06.

                                                                                                                                                                                                       Scheduled shutdown of ExxonMobil Baytown Chemical
                                                                                   Not Specifically                                                                                                 Plant (BTCP) due to approach of Hurricane Ike. Portions of
113885   ETSC 000112 - 000114   9/11/2008 11:00    9/17/2008 6:00    139:00                                  Chemical Plant       Flare Stack 28    FS28         NOX             12.90        0.00                                                             already counted
                                                                                     authorized                                                                                                    these units are permitted under Permits #20211, 4600 and
                                                                                                                                                                                                                                                     #36476.
                                                                                                                                                                                                                   SUBTOTAL OF NOX - LIMIT 0 - PERMIT 36476             1               1
                                                                                   Not Specifically                                                                                                Propylene flush to R5101 open during R5101 purge (Permit
126665   ETSC 000130 - 000131   7/10/2009 13:00   7/10/2009 21:00     8:00                                 BAPP; FLARE LOOP       Flare Stack 24    FS24         NOX               6.60       1.00                                                               already counted
                                                                                     authorized                                                                                                                                                         # 8586).
                                                                                                                                                                                                                                     NO REPEATED VIOLATION
                                                                                                                                                                                                   A spike in nitrogen pressure of key control valves lead to an
                                                                               3 lbs of the 7.24 lbs are
                                                                                                                                                                                                   automated diversion of a stream from the Clause system to
127416   ETSC 000132 - 000133   7/28/2009 21:40   7/28/2009 22:12     0:32        authorized (Permit          SYNGAS Unit         Flare Stack 28    FS28         NOX               7.24       3.00                                                                      1           F, H, R-NZ
                                                                                                                                                                                                         flare stack 28 (permit # 36476, PSD-TX-996M1) for 37
                                                                                       #36476)
                                                                                                                                                                                                                                                       minutes.
                                                                                                                                                                                                                SUBTOTAL OF NOX - LIMIT 3.00 - PERMIT 36476             1               1
                                                                                   Not Specifically                                                                                                Propylene flush to R5101 open during R5101 purge (Permit
126665   ETSC 000130 - 000131   7/10/2009 13:00   7/10/2009 21:00     8:00                                 BAPP; FLARE LOOP       Flare Stack 23    FS23         NOX             71.20       10.80                                                                      1              F, H
                                                                                     authorized                                                                                                                                                         # 8586).
                                                                                                                                                                                                                                     NO REPEATED VIOLATION
                                                                                                                                                                                                        Power surge and subsequent stabilization of operations
            ETSC 000134 -
                                                                              8 of 8 lbs are authorized Baytown Chemical                                                                              lead to controlled partial shutdown and startup of various
127839     000138; EOMCS        8/6/2009 14:45     8/7/2009 2:09     11:24                                                       NRU Furnace F9B   F9ANRU        NOX               8.00      11.27
                                                                                   by Permit 5259             Plant                                                                                   units. Portions of these units are permitted under Permits
         00232149 - 00232165
                                                                                                                                                                                                                                      #20211, 4600 and #36476.
                                                                                                                                                                                                                                       NO REPEATED VIOLATION
                                                                                          Case 4:10-cv-04969 Document 297-7 Filed on 10/19/20 in TXSD Page 6 of 9




                                                                                                                                                                                               Loss of compressor electrical motor for C-1 (methyl chloride
                                                                              0 lbs of the total .9 lbs are    Butyl Polymer
                                                                                                                                                                                                 compressor) resulted in shutdown of Butyl Polymer Plant.
143387   ETSC 000147 - 000148   8/10/2010 10:26    8/11/2010 2:38    16:12    authorized under permit #        Baytown Plant,     Flare Stack 12    FS12        NOX              0.90    13.15                                                                     1
                                                                                                                                                                                                Portions of the unit emissions are authorized under Permit
                                                                                         20211                      BPB
                                                                                                                                                                                                                                                No. 20211.

                                                                                                                                                                                                    Power surge and subsequent stabilization of operations
            ETSC 000134 -
                                                                                    Not Specifically          Baytown Chemical                                                                    lead to controlled partial shutdown and startup of various
127839     000138; EOMCS        8/6/2009 14:45     8/7/2009 2:09     11:24                                                        Flare Stack 12    FS12        NOX              1.00    13.15                                                                     1
                                                                                      authorized                    Plant                                                                         units. Portions of these units are permitted under Permits
         00232149 - 00232165
                                                                                                                                                                                                                                  #20211, 4600 and #36476.

                                                                                                                                                                                               Vapor release due to open valve on line from reactor heads
                                                                                   Portions may be
                                                                                                       Butyl Polymers, D-                                                                       drums. Minimal associated flaring of ethylene. Portions of
152424   ETSC 000153 - 000154   3/24/2011 8:50    3/24/2011 14:25     5:35     authorized under Permit                            Flare Stack 12    FS12        NOX              0.33    13.15                                                                     1
                                                                                                             26H/S                                                                               the unit emissions are authorized by Permit #20211. This
                                                                                       #20211
                                                                                                                                                                                                                                         event has ended.

                                                                              0 lbs of the total 10.06 lbs                                                                                             Methyl chloride compressor C-1 tripped, resulting in
                                                                                                               Butyl Polymer
152760   ETSC 000155 - 000156    4/1/2011 3:57     4/1/2011 7:04      3:07       are authorized under                             Flare Stack 12    FS12        NOX            10.06     13.15        subsequent flaring. Portions of the unit emissions are       1            F, H
                                                                                                               Baytown Plant
                                                                                    Permit #20211                                                                                                                      authorized under Permit No. 20211.
                                                                                                                                                                                                                 TOTAL - NOX - LIMIT 13.15 - PERMIT 20211          4             1
                                                                              Permit Nos. 36476 & PSD-
102876   ETSC 000106 - 000107   1/26/2008 10:50   1/26/2008 13:55     3:05    TX-996M1 (Unauthorized Synthesis Gas Unit           Flare Stack 28    FS28        NOX            84.00     30.46                 Control Valve malfunction resulted in flaring.      1            F, H
                                                                                      = 0.0lbs)
                                                                                                                                                                                                                                   NO REPEATED VIOLATION
                                                                                                              SYNGAS Unit, Air                                                                      During a strainer change at APCI, a pump cavitated. The
                                                                                  Portions may be
                                                                                                                Products and                                                                      subsequent unit upset resulted in acid gas flaring at FS28.
140499   ETSC 000141 - 000142   6/2/2010 10:30     6/2/2010 10:45     0:15      authorized under the                              Flare Stack 28    FS28        NOX              2.28    41.91                                                                     1            F, H
                                                                                                               Chemicals, Inc.                                                                      This event has ended. Portions of the unit emissions are
                                                                                   Permit #36476
                                                                                                                    APCI                                                                                                      authorized by Permit #36476.

                                                                                                                                                                                               During a planned unit startup, a restriction in a line resulted
                                                                                                                                                                                                    in flaring above permitted MSS hourly limits from Flare
                                                                                                                                                                                                 Stack 28. Hourly MSS permit limit for COS exceeded in the
                                                                               41.5 lbs of the 41.53 lbs
                                                                                                              SYNGAS Unit, SGU                                                                 04:00-4:59 clock hour but no RQs exceeded during this time
133644   ETSC 000139 - 000140   12/23/2009 2:00   12/23/2009 17:30   15:30      are authorized (Permit                            Flare Stack 28    FS28        NOx            51.99     41.99                                                                     1            F, H
                                                                                                                   FS28                                                                            period. During the 05:00-05:59 clock hour, H2S and SO2
                                                                                        #36476
                                                                                                                                                                                                hourly MSS permit limits were exceeded as well as the SO2
                                                                                                                                                                                                       RQ. Portions of the unit are authorized under Permit
                                                                                                                                                                                                        #36476, PSD-TX 996M. Emissions event has ended.

                                                                                                                                                                                                                 TOTAL - NOX - LIMIT 3.00 - PERMIT 36476           2             2
                                                                                                                                                                                                    Power surge and subsequent stabilization of operations
            ETSC 000134 -
                                                                               8 of 8 lbs are authorized Baytown Chemical         Chemical Plant                                                  lead to controlled partial shutdown and startup of various
127839     000138; EOMCS        8/6/2009 14:45     8/7/2009 2:09     11:24                                                                                      NOX              8.00   115.58                                                               already counted
                                                                                    by Permit 5259             Plant                Furnaces                                                      units. Portions of these units are permitted under Permits
         00232149 - 00232165
                                                                                                                                                                                                                                  #20211, 4600 and #36476.

                                                                                                                                                                                                    Power surge and subsequent stabilization of operations
            ETSC 000134 -                                                        0.41 of 111 pounds
                                                                                                              Baytown Chemical                                                                    lead to controlled partial shutdown and startup of various
127839     000138; EOMCS        8/6/2009 14:45     8/7/2009 2:09     11:24      authorized by Permit                              Fare Stack 24     FS24        NOX           111.00    116.81                                                               already counted
                                                                                                                    Plant                                                                         units. Portions of these units are permitted under Permits
         00232149 - 00232165                                                            4600
                                                                                                                                                                                                                                  #20211, 4600 and #36476.

                                                                                                                                                                                                    Power surge and subsequent stabilization of operations
            ETSC 000134 -                                                        0.33 of 170 pounds
                                                                                                              Baytown Chemical                                                                    lead to controlled partial shutdown and startup of various
127839     000138; EOMCS        8/6/2009 14:45     8/7/2009 2:09     11:24      authorized by Permit                              Flare Stack 23    FS23        NOX           170.00    116.81                                                                     1            F, H
                                                                                                                    Plant                                                                         units. Portions of these units are permitted under Permits
         00232149 - 00232165                                                            4600
                                                                                                                                                                                                                                  #20211, 4600 and #36476.

                                                                                                                                                                                               While conducting a unit start-up at BAPP Line 4 following a
                                                                                                                                                                                                 unit shutdown for Hurricane Ike, an electrical component
                                                                                                                                                                                                failed in a substation. This failure resulted in an automatic
                                                                                    Not Specifically           Polypropylene
114372   ETSC 000115 - 000116   9/22/2008 0:15     9/22/2008 5:00     4:45                                                        Flare Stack 23    FS23        NOX            41.00    116.81         unit shutdown with associated flaring for safety and        1            F, H
                                                                                      authorized                Unit: Line 4
                                                                                                                                                                                               pressure control reasons. The event has ended. Portions of
                                                                                                                                                                                                 the Polypropylene Unit are authorized under Permit Nos.
                                                                                                                                                                                                                                              4600 and 8586.

                                                                                                                                                                                               While conducting a unit start-up at BAPP Line 6 following a
                                                                                                                                                                                               unit shutdown for Hurricane Ike, a compressor shut down,
                                                                                    Not Specifically           Polypropylene
114463   ETSC 000117 - 000118   9/23/2008 6:45    9/23/2008 11:10     4:25                                                        Flare Stack 23    FS23        NOX            16.80    116.81 which resulted in propylene being sent to the flare system.         1            F, H
                                                                                      authorized                Unit: Line 6
                                                                                                                                                                                                 The event has ended. Portions of the Polypropylene Unit
                                                                                                                                                                                                        are authorized under Permit Nos. 4600 and 8586.

                                                                              0.2 of total of 10.8 lbs are                                                                                     Flaring due to system malfunction. Portions of this unit are
                                                                                                               Polypropylene
142965   ETSC 000143 - 000144   7/30/2010 22:09    7/31/2010 1:21     3:12     authorized under permit                            Flare Stack 23    FS23        NOX            10.60    116.81 covered under permits 8586 and 4600. All customer needs             1            F, H
                                                                                                                Unit, Line 8
                                                                                         4600                                                                                                                                                   were met.
                                                                                                                                                                                                 External mechanical seal failure on agitator. The event has
                                                                                    Not Specifically           Polypropylene
113195   ETSC 000110 - 000111   8/27/2008 10:15   8/27/2008 14:27     4:12                                                        Flare Stack 23    FS23        NOX            14.33    116.81    ended. Portions of the Polypropylene Unit are authorized already counted
                                                                                      authorized                Unit: Line 7
                                                                                                                                                                                                                        under Permit Nos. 4600 and 8586.

                                                                                                                                                                                                 External mechanical seal failure on agitator. The event has
                                                                                    Not Specifically           Polypropylene
113195   ETSC 000110 - 000111   8/27/2008 10:15   8/27/2008 14:27     4:12                                                        Flare Stack 24    FS24        NOX            10.41    116.81    ended. Portions of the Polypropylene Unit are authorized         1            F, H
                                                                                      authorized                Unit: Line 7
                                                                                                                                                                                                                        under Permit Nos. 4600 and 8586.

                                                                                                                                                                                               While conducting a unit start-up at BAPP Line 4 following a
                                                                                                                                                                                                 unit shutdown for Hurricane Ike, an electrical component
                                                                                                                                                                                                failed in a substation. This failure resulted in an automatic
                                                                                    Not Specifically           Polypropylene
114372   ETSC 000115 - 000116   9/22/2008 0:15     9/22/2008 5:00     4:45                                                        Flare Stack 24    FS24        NOX              5.50   116.81         unit shutdown with associated flaring for safety and already counted
                                                                                      authorized                Unit: Line 4
                                                                                                                                                                                               pressure control reasons. The event has ended. Portions of
                                                                                                                                                                                                 the Polypropylene Unit are authorized under Permit Nos.
                                                                                                                                                                                                                                              4600 and 8586.

                                                                                                                                                                                               While conducting a unit start-up at BAPP Line 6 following a
                                                                                                                                                                                               unit shutdown for Hurricane Ike, a compressor shut down,
                                                                                    Not Specifically           Polypropylene
114463   ETSC 000117 - 000118   9/23/2008 6:45    9/23/2008 11:10     4:25                                                        Flare Stack 24    FS24        NOX              1.00   116.81 which resulted in propylene being sent to the flare system. already counted
                                                                                      authorized                Unit: Line 6
                                                                                                                                                                                                 The event has ended. Portions of the Polypropylene Unit
                                                                                                                                                                                                        are authorized under Permit Nos. 4600 and 8586.

                                                                              1.2 of total of 2.6 lbs are                                                                                      Flaring due to system malfunction. Portions of this unit are
                                                                                                               Polypropylene
142965   ETSC 000143 - 000144   7/30/2010 22:09    7/31/2010 1:21     3:12    authorized under permit                             Flare Stack 24    FS24        NOX              1.40   116.81 covered under permits 8586 and 4600. All customer needs already counted
                                                                                                                Unit, Line 8
                                                                                        4600                                                                                                                                                    were met.
                                                                                                                                                                                                    Power surge and subsequent stabilization of operations
            ETSC 000134 -                                                         1.24 of 3 pounds
                                                                                                              Baytown Chemical                                                                    lead to controlled partial shutdown and startup of various
127839     000138; EOMCS        8/6/2009 14:45     8/7/2009 2:09     11:24      authorized by Permit                               Flare Stack 9    FS9         NOX              3.00   116.81                                                               already counted
                                                                                                                    Plant                                                                         units. Portions of these units are permitted under Permits
         00232149 - 00232165                                                            4600
                                                                                                                                                                                                                                  #20211, 4600 and #36476.
                                                                                                                                                                                                                TOTAL - NOX - LIMIT 116.81 - PERMIT 4600           5             5
                                                                                                                 Chemical           Chemical                                                  Wood lawn structure caught fire and burned to ground. The
                                                                                    Not Specifically
77173    ETSC 000092 - 000093   6/15/2006 2:59     6/15/2006 3:17     0:18                                     Administration     Administration              OPACITY        100.00%    0.00% structure is not part of an operating unit or process. The fire      1            S, H
                                                                                      authorized
                                                                                                                 Building           Building                                                        exceeded the opacity limit of 30 TAC 111.111(a)(8)(A).

                                                                                                                                                                                                    Power surge and subsequent stabilization of operations
            ETSC 000134 -
                                                                                    Not Specifically          Baytown Chemical                                                                    lead to controlled partial shutdown and startup of various
127839     000138; EOMCS        8/6/2009 14:45     8/7/2009 2:09     11:24                                                        Fare Stack 24     FS24      OPACITY        100.00%    0.00%                                                                already counted
                                                                                      authorized                    Plant                                                                         units. Portions of these units are permitted under Permits
         00232149 - 00232165
                                                                                                                                                                                                                                  #20211, 4600 and #36476.

                                                                                                                                                                                                    Power surge and subsequent stabilization of operations
            ETSC 000134 -
                                                                                    Not Specifically          Baytown Chemical                                                                    lead to controlled partial shutdown and startup of various
127839     000138; EOMCS        8/6/2009 14:45     8/7/2009 2:09     11:24                                                        Flare Stack 12    FS12      OPACITY        100.00%    0.00%                                                                      1           F, S, H
                                                                                      authorized                    Plant                                                                         units. Portions of these units are permitted under Permits
         00232149 - 00232165
                                                                                                                                                                                                                                  #20211, 4600 and #36476.

                                                                                                                                                                                                    Power surge and subsequent stabilization of operations
            ETSC 000134 -
                                                                                    Not Specifically          Baytown Chemical                                                                    lead to controlled partial shutdown and startup of various
127839     000138; EOMCS        8/6/2009 14:45     8/7/2009 2:09     11:24                                                        Flare Stack 23    FS23       Opacity       100.00%    0.00%                                                                already counted
                                                                                      authorized                    Plant                                                                         units. Portions of these units are permitted under Permits
         00232149 - 00232165
                                                                                                                                                                                                                                  #20211, 4600 and #36476.

                                                                                                                                                                                                    Power surge and subsequent stabilization of operations
            ETSC 000134 -
                                                                                    Not Specifically          Baytown Chemical                                                                    lead to controlled partial shutdown and startup of various
127839     000138; EOMCS        8/6/2009 14:45     8/7/2009 2:09     11:24                                                         Flare Stack 9    FS9       OPACITY        100.00%    0.00%                                                                already counted
                                                                                      authorized                    Plant                                                                         units. Portions of these units are permitted under Permits
         00232149 - 00232165
                                                                                                                                                                                                                                  #20211, 4600 and #36476.
                                                                                                                                                                                                                TOTAL - OPACITY - LIMIT 0% - PERMIT 4600           2             2
                                                                                                                 Chemical           Chemical                                                   Wood lawn structure caught fire and burned to ground. The
                                                                                    Not Specifically
77173    ETSC 000092 - 000093   6/15/2006 2:59     6/15/2006 3:17     0:18                                     Administration     Administration               PM10           104.00      0.00 structure is not part of an operating unit or process. The fire     1            S, H
                                                                                      authorized
                                                                                                                 Building           Building                                                         exceeded the opacity limit of 30 TAC 111.111(a)(8)(A).
                                                                                                                                                                                                                                   NO REPEATED VIOLATION
                                                                                                                 Chemical           Chemical                                                   Wood lawn structure caught fire and burned to ground. The
                                                                                    Not Specifically
77173    ETSC 000092 - 000093   6/15/2006 2:59     6/15/2006 3:17     0:18                                     Administration     Administration            Sulfur Dioxide       3.00     0.00 structure is not part of an operating unit or process. The fire     1
                                                                                      authorized
                                                                                                                 Building           Building                                                         exceeded the opacity limit of 30 TAC 111.111(a)(8)(A).

                                                                                                                                                                                                   Scheduled shutdown of ExxonMobil Baytown Chemical
                                                                                    Not Specifically                                                                                            Plant (BTCP) due to approach of Hurricane Ike. Portions of
113885   ETSC 000112 - 000114   9/11/2008 11:00    9/17/2008 6:00    139:00                                    Chemical Plant     Flare Stack 28    FS28    Sulfur Dioxide    492.70      0.00                                                                     6              F
                                                                                      authorized                                                                                               these units are permitted under Permits #20211, 4600 and
                                                                                                                                                                                                                                                 #36476.

                                                                                                                                                                                                  During a rainstorm a lightning strike caused a temporary
                                                                                                                                                                                                   power disruption which resulted in damage to electrical
                                                                                                                                                                                               components of the acid gas grid system. This damage lead
                                                                                                                                                                                                      to intermittent flaring. Duration of emissions was 42
                                                                                No specific emissions
                                                                                                                                                                                               minutes. Syngas Unit is authorized by Permit #36476/PSD-
95950    ETSC 000065 - 000066   8/15/2007 3:40     8/15/2007 4:22     0:42      authorizations for this         Syngas Unit       Flare Stack 28    FS28    Sulfur Dioxide   4,080.00     0.00                                                                     1           F, R-RQ
                                                                                                                                                                                                TX-996M1. Date Start Stop Duration 8/15/2007 3:18 3:21
                                                                                        facility
                                                                                                                                                                                                 );)3 min 8/15/2007 3:23 3:32 0:09 min 8/16/2007 14:03
                                                                                                                                                                                                          14:11 0:08 min 8/16/2007 15:22 15:27 0:05 min
                                                                                                                                                                                                 8/16/2007 15:36 15:39 0:03 min 8/16/2007 15:42 15:50
                                                                                                                                                                                                                    0:08 min 8/16/2007 15:51 15:57 0:06.

                                                                                                                                                                                                                      TOTAL - SO2 - LIMIT 0 - PERMIT 36476         8             7
                                                                                                                                                                                                    Power surge and subsequent stabilization of operations
            ETSC 000134 -
                                                                               Portions are authorized        Baytown Chemical                                                                    lead to controlled partial shutdown and startup of various
127839     000138; EOMCS        8/6/2009 14:45     8/7/2009 2:09     11:24                                                       NRU Furnace F9B   F9ANRU   Sulfur Dioxide       5.06     5.99
                                                                                   by Permit 5259                   Plant                                                                         units. Portions of these units are permitted under Permits
         00232149 - 00232165
                                                                                                                                                                                                                                  #20211, 4600 and #36476.
                                                                                                                                                                                                                                   NO REPEATED VIOLATION
                                                                                         Case 4:10-cv-04969 Document 297-7 Filed on 10/19/20 in TXSD Page 7 of 9




                                                                                                                                                                                                                     Power surge and subsequent stabilization of operations
            ETSC 000134 -
                                                                                Portions are authorized       Chemical Plant                                                                                       lead to controlled partial shutdown and startup of various
127839     000138; EOMCS         8/6/2009 14:45     8/7/2009 2:09     11:24                                                                                           Sulfur Dioxide         17.00       33.83                                                                      1
                                                                                   by Permit 20211              Furnaces                                                                                           units. Portions of these units are permitted under Permits
         00232149 - 00232165
                                                                                                                                                                                                                                                   #20211, 4600 and #36476.
                                                                                                                                                                                                                                                 NO REPEATED VIOLATION
                                                                                                                                                                                                               A spike in nitrogen pressure of key control valves lead to an
                                                                                67.72 lbs of the 1718.9
                                                                                                                                                                                                               automated diversion of a stream from the Clause system to
127416   ETSC 000132 - 000133   7/28/2009 21:40    7/28/2009 22:12     0:32    lbs are authorized (Permit      SYNGAS Unit            Flare Stack 28       FS28       Sulfur Dioxide       1,718.90      67.72                                                                      1           F, R-RQ, R-NZ
                                                                                                                                                                                                                     flare stack 28 (permit # 36476, PSD-TX-996M1) for 37
                                                                                        #36476)
                                                                                                                                                                                                                                                                   minutes.

                                                                               135.44 of 6718.7 lbs are                                                                                                        Malfunction of control valve at Air Products Plant which led
173019   ETSC 072777 - 072778    9/1/2012 4:57      9/1/2012 5:18      0:21    authorized under Permit         Syngas Unit            Flare Stack 28       FS28       Sulfur Dioxide       6,583.30      67.72 to flaring at FS-28. Portions of the emissions are authorized        1           F, R-RQ, R-NZ
                                                                               #36476/PSD-TX-996M1                                                                                                                                by permit number 36476/PSD-TX-996M1.

                                                                                                                                                                                                                                  TOTAL - SO2 - LIMIT 67.72 - PERMIT 36476          2                2

                                                                                                                                                                                                               During a planned unit startup, a restriction in a line resulted
                                                                                                                                                                                                                    in flaring above permitted MSS hourly limits from Flare
                                                                                  33145.72 lbs of the                                                                                                            Stack 28. Hourly MSS permit limit for COS exceeded in the
                                                                                   52743.64 lbs are         SYNGAS Unit, SGU                                                                                   04:00-4:59 clock hour but no RQs exceeded during this time
133644   ETSC 000139 - 000140   12/23/2009 2:00    12/23/2009 17:30   15:30                                                           Flare Stack 28       FS28       Sulfur Dioxide      52,743.64   2,768.94                                                                      1           F, R-RQ, R-NZ
                                                                                  authorized (Permit             FS28                                                                                              period. During the 05:00-05:59 clock hour, H2S and SO2
                                                                                       #36476)                                                                                                                  hourly MSS permit limits were exceeded as well as the SO2
                                                                                                                                                                                                                       RQ. Portions of the unit are authorized under Permit
                                                                                                                                                                                                                        #36476, PSD-TX 996M. Emissions event has ended.

                                                                                3634.12 lbs out of the                                                                                                         Power disturbance caused Train 2 to trip resulting in Syngas
                                                                                 total 5094.18 lbs are                                                                                                           and Air products unit shutdowns and subsequent flaring.
155989   ETSC 000157 - 000158   6/21/2011 10:25    6/21/2011 23:19    12:54                            SYNGAS Unit (SGU)              Flare Stack 28       FS28       Sulfur Dioxide       1,460.06   2,768.94                                                                      1              F, R-RQ
                                                                               authorized under Permit                                                                                                          Portions of the unit emissions are authorized under Permit
                                                                                        #36476                                                                                                                                                                     #36476.

                                                                                                                                                                                                                 Unit shutdown at Air Products (APCI) resulted in flaring at
                                                                                3936.6 lbs of the 7647.5 SYNGAS Unit (SGU)
                                                                                                                                                                                                                        Flare Stack 28. The SO2 RW qas not exceeded until
147288   ETSC 000149 - 000150   11/11/2010 5:03    11/11/2010 8:16     3:13    lbs are authorized (Permit / Air Products and          Flare Stack 28       FS28       Sulfur Dioxide       3,710.90   2,768.94                                                                      1              F, R-RQ
                                                                                                                                                                                                                 11/11/10 05:45. Portions of the unit are authorized under
                                                                                        #36476)                Chemicals
                                                                                                                                                                                                               Permit #36476, PSD-TX 996M1. Emissions event has ended.

                                                                               Permit Nos. 36476 & PSD-
102876   ETSC 000106 - 000107   1/26/2008 10:50    1/26/2008 13:55     3:05    TX-996M1 (Unauthorized Synthesis Gas Unit              Flare Stack 28       FS28       Sulfur Dioxide      11,540.00   2,768.94                  Control Valve malfunction resulted in flaring.      1           F, R-RQ, R-NZ
                                                                                      = 3522lbs)

                                                                                                             SYNGAS Unit, Air                                                                                        During a strainer change at APCI, a pump cavitated. The
                                                                                   Portions may be
                                                                                                               Products and                                                                                        subsequent unit upset resulted in acid gas flaring at FS28.
140499   ETSC 000141 - 000142    6/2/2010 10:30     6/2/2010 10:45     0:15      authorized under the                                 Flare Stack 28       FS28       Sulfur Dioxide       2,132.90   2,768.94                                                                      1              F, R-RQ
                                                                                                              Chemicals, Inc.                                                                                        This event has ended. Portions of the unit emissions are
                                                                                    Permit #36476
                                                                                                                   APCI                                                                                                                        authorized by Permit #36476.
                                                                                                                                                                                                                                  TOTAL - SO2 - LIMIT 2768 - PERMIT 36476           5                5

                                                                                                               Chemical                Chemical                        TOTAL NOX:                              Wood lawn structure caught fire and burned to ground. The
                                                                                    Not Specifically
77173    ETSC 000092 - 000093    6/15/2006 2:59     6/15/2006 3:17     0:18                                  Administration          Administration                 Nitrogen Dioxide,          8.00       0.00 structure is not part of an operating unit or process. The fire      1                H
                                                                                      authorized
                                                                                                               Building                Building                      Nitrogen Oxide                                  exceeded the opacity limit of 30 TAC 111.111(a)(8)(A).


                                                                                                                                                                       TOTAL NOX:                                Solenoid coil failure on reactor diverter valve, resulting in
                                                                                    Not Specifically          Polypropylene
77100    ETSC 000094 - 000095    6/14/2006 4:37     6/14/2006 9:10     4:33                                                           Flare Stack 23       FS23     Nitrogen Dioxide,        68.00        0.00 propylene flaring. Portions of this unit are authorized under        1               F, H
                                                                                      authorized               Unit: Line 8
                                                                                                                                                                     Nitrogen Oxide                                                                            permit #4600.


                                                                                                                                                                       TOTAL NOX:                                Solenoid coil failure on reactor diverter valve, resulting in
                                                                                    Not Specifically          Polypropylene
77100    ETSC 000094 - 000095    6/14/2006 4:37     6/14/2006 9:10     4:33                                                           Flare Stack 24       FS24     Nitrogen Dioxide,          2.00       0.00 propylene flaring. Portions of this unit are authorized under already counted
                                                                                      authorized               Unit: Line 8
                                                                                                                                                                     Nitrogen Oxide                                                                            permit #4600.


                                                                                                                                                                       TOTAL NOX:                                PCU motors C125 and C-130 shutoff due to internal failures
                                                                                    Not Specifically            Propylene
68234    ETSC 000049 - 000050   11/17/2005 22:45   11/18/2005 3:00     4:15                                                               FS23             FS23     Nitrogen Dioxide,        20.00        0.00     resulting in flaring. Portions of PCU are authorized under       1               F, H
                                                                                      authorized            Concentration Unit
                                                                                                                                                                     Nitrogen Oxide                                                             Permit 4600 and Permit 9571.


                                                                                                                                                                       TOTAL NOX:                                PCU motors C125 and C-130 shutoff due to internal failures
                                                                                    Not Specifically            Propylene
68234    ETSC 000049 - 000050   11/17/2005 22:45   11/18/2005 3:00     4:15                                                               FS24             FS24     Nitrogen Dioxide,          2.20       0.00     resulting in flaring. Portions of PCU are authorized under already counted
                                                                                      authorized            Concentration Unit
                                                                                                                                                                     Nitrogen Oxide                                                             Permit 4600 and Permit 9571.


                                                                                                                                                                       TOTAL NOX:                                PCU motors C125 and C-130 shutoff due to internal failures
                                                                                    Not Specifically            Propylene
68234    ETSC 000049 - 000050   11/17/2005 22:45   11/18/2005 3:00     4:15                                                                FS9              FS9     Nitrogen Dioxide,        12.00        0.00     resulting in flaring. Portions of PCU are authorized under already counted
                                                                                      authorized            Concentration Unit
                                                                                                                                                                     Nitrogen Oxide                                                             Permit 4600 and Permit 9571.

                                                                                                                                                                                                                                 SUBTOTAL OF NOX - LIMIT 0 - PERMIT 4600            3                3
                                                                                                                                                                       TOTAL VOC:                                 External mechanical seal failure on agitator. The event has
                                                                                    Not Specifically          Polypropylene         7PA308 Analyzer
113195   ETSC 000110 - 000111   8/27/2008 10:15    8/27/2008 14:27     4:12                                                                                             Propylene            27.00        0.00     ended. Portions of the Polypropylene Unit are authorized         1                H
                                                                                      authorized               Unit: Line 7             Tubing
                                                                                                                                                                        (Propene)                                                        under Permit Nos. 4600 and 8586.

                                                                                                                                                                       TOTAL VOC:                                 External mechanical seal failure on agitator. The event has
                                                                                    Not Specifically          Polypropylene
113195   ETSC 000110 - 000111   8/27/2008 10:15    8/27/2008 14:27     4:12                                                              7PP420                         Propylene              2.70       0.00     ended. Portions of the Polypropylene Unit are authorized already counted
                                                                                      authorized               Unit: Line 7
                                                                                                                                                                        (Propene)                                                        under Permit Nos. 4600 and 8586.

                                                                                                                                                                                                                While conducting start-up operations following Hurricane
            ETSC 000119 -                                                                                                                                             TOTAL VOC:                                    Ike, six small pinhole leaks developed on the line and
                                                                                    Not Specifically           Aromatics
114665     000120; EOMCS        9/26/2008 14:30    9/26/2008 15:27     0:57                                                         AXU Extract Line        N/A     Benzene, Toluene,       127.11        0.00   resulted in emissions to the atmosphere.Portions of the            1           H, O-RQ, R-RQ
                                                                                      authorized             Extraction Unit
         00232182 - 00232186                                                                                                                                          VOC, Xylene                              Aromatics Extraction Unit are authorized under Permit No.
                                                                                                                                                                                                                                                                    20211.
                                                                                                                                                                       TOTAL VOC:                                   Pump seal leak. The event has ended. Portions of the
                                                                                    Not Specifically          Polypropylene           BAPP Fugitive
92944    ETSC 000067 - 000068   6/20/2007 17:00    6/20/2007 17:45     0:45                                                                               BAPPFUG       Propylene           341.00        0.00 Polypropylene Unit are authorized under Permit Nos. 4600             1             H, R-RQ
                                                                                      authorized               Unit: Line 8            Emissions
                                                                                                                                                                        (Propene)                                                                             and 8586.

                                                                                                                                                                       TOTAL VOC:
                                                                                                                                                                    Benzene, Butane,
                                                                                                                                                                      Ethylbenzene,
                                                                                                                Aromatic                                            Hexane, Octanes,                              Spill from bleeder valve to atmosphere. Portions of unit
                                                                                    Not Specifically
148767   ETSC 000151 - 000152   12/24/2010 1:18    12/24/2010 4:54     3:36                                  Extraction Unit          Bleeder Valve         NA        Orthoxylene,          299.84        0.00 emissions are authorized under permit @20211. Emissions              1           H, O-RQ, R-RQ
                                                                                      authorized
                                                                                                                  (AXU)                                              Other, Pentane,                                                                    event has ended.
                                                                                                                                                                         Toluene,
                                                                                                                                                                       metaxylene,
                                                                                                                                                                       paraxylene


                                                                                                                                                                      TOTAL VOC:
                                                                                    Not Specifically        Butyl Unit; Bleeder                                         Hexane,                                  Failure of bleeder valve on pump discharge pipe. Portions of
83713        ETSC 000081         11/9/2006 7:49     11/9/2006 8:01     0:12                                                           Bleeder Valve                                        5,496.00       0.00                                                                      1             H, R-RQ
                                                                                      authorized                Valve Leak                                            Isobutylene,                                the Butyl unit are authorized under permit number 20211.
                                                                                                                                                                     Methyl Chloride

                                                                                                                                                                                                                   Scheduled shutdown of ExxonMobil Baytown Chemical
                                                                                    Not Specifically                                Carbon Adsorber                    TOTAL VOC:                               Plant (BTCP) due to approach of Hurricane Ike. Portions of
113885   ETSC 000112 - 000114   9/11/2008 11:00     9/17/2008 6:00    139:00                                  Chemical Plant                              CASRHB                             89.00        0.00                                                                      6
                                                                                      authorized                                        System                           Hexane                                these units are permitted under Permits #20211, 4600 and
                                                                                                                                                                                                                                                                 #36476.
                                                                                                                                                                                                                     Valve packing failure on catalyst control valve (EF-003).
                                                                                    Not Specifically         Butyl Polymers         Catalyst regulator                TOTAL VOC:
68191    ETSC 000051 - 000052   11/17/2005 6:05    11/17/2005 10:05    4:00                                                                                EF-003                          1,089.00       0.00     Portions of the Butyl Polymers plant are authorized under        1
                                                                                      authorized                  Unit                    valve                      Methyl Chloride
                                                                                                                                                                                                                                                              permit #20211.
                                                                                                               Chemical                Chemical                                                                Wood lawn structure caught fire and burned to ground. The
                                                                                    Not Specifically                                                                   TOTAL VOC:
77173    ETSC 000092 - 000093    6/15/2006 2:59     6/15/2006 3:17     0:18                                  Administration          Administration                                         695.00        0.00 structure is not part of an operating unit or process. The fire      1
                                                                                      authorized                                                                     Aldehydes, VOC
                                                                                                               Building                Building                                                                      exceeded the opacity limit of 30 TAC 111.111(a)(8)(A).

                                                                                                                                                                                                                  Gasket failure on flange in the Naptha Rerun Unit. Portions
                                                                                    Not Specifically                                                                  TOTAL VOC:
66635        ETSC 000058        10/18/2005 8:09    10/18/2005 13:09    5:00                                 Naptha Rerun Unit       Column 8 Flange                                          62.00        0.00         of the Naptha Rerun Unit are permitted under permit          1                H
                                                                                      authorized                                                                    Benzene. Toluene
                                                                                                                                                                                                                                                    #5259 and permit #4600.

                                                                                                                                                                                                                           High vibration in compressor C-1 (methyl chloride
                                                                                No specific emissions                                                                 TOTAL VOC:
                                                                                                                                                                                                                     compressor) resulted in multiple shutdowns. Portions of
91125    ETSC 000071 - 000072    5/14/2007 7:05    5/18/2007 13:20    102:15    authorizations for this        Butyl Plant        D-20B Flash Tank Vent               Isobutylene,           20.00        0.00                                                                      5
                                                                                                                                                                                                                    the Butyl Plant are authorized under Flexible Permits No.
                                                                                        facility                                                                     Methyl Chloride
                                                                                                                                                                                                                                                            4600 and 20211.

                                                                                                                                                                                                                           High vibration in compressor C-1 (methyl chloride
                                                                                No specific emissions                                                                 TOTAL VOC:
                                                                                                                                                                                                                     compressor) resulted in multiple shutdowns. Portions of
91125    ETSC 000071 - 000072    5/14/2007 7:05    5/18/2007 13:20    102:15    authorizations for this        Butyl Plant         D-20B Pinhole Leak                 Isobutylene,             4.00       0.00                                                                already counted
                                                                                                                                                                                                                    the Butyl Plant are authorized under Flexible Permits No.
                                                                                        facility                                                                     Methyl Chloride
                                                                                                                                                                                                                                                            4600 and 20211.

                                                                                                                                                                       TOTAL VOC:                                   Leak occurred due to hole in DC5121 dust collector. The
                                                                                    Not Specifically
114911   ETSC 000123 - 000124    10/2/2008 1:17     10/2/2008 3:38     2:21                                 Polypropylene Unit       Hole in DC5121         N/A         Propylene          8,100.00       0.00      event has ended. Portions of the Polypropylene Unit are         1             H, R-RQ
                                                                                      authorized
                                                                                                                                                                        (Propene)                                             authorized under Permit Nos. 4600 and 8586.

                                                                                    Not Specifically                                                                   TOTAL VOC:                                  Pinhole in pipe on line to Tank 4000. Portion of the unit is
143032   ETSC 000145 - 000146    8/2/2010 7:55      8/2/2010 12:15     4:20                                  Isobutylene Unit          Hole in Pipe                                         184.07        0.00                                                                      1
                                                                                      authorized                                                                    Isobutylene, VOC                                                             authorized by permit 20211.
                                                                                                                                                                       TOTAL VOC:
                                                                                    Not Specifically            Propylene                                                Propane,                                      Hole in pipe due to corrosion. Portions of this unit are
81544    ETSC 000084 - 000085   9/19/2006 22:40    9/19/2006 23:52     1:12                                                            Hole in Pipe                                         188.00        0.00                                                                      1             H, R-RQ
                                                                                      authorized            Concentration Unit                                          Propylene                                                    authorized under permit number 9571.
                                                                                                                                                                        (Propene)
                                                                                                                                                                                                                     Power surge and subsequent stabilization of operations
            ETSC 000134 -                                                                                                                                              TOTAL VOC:
                                                                                    Not Specifically        Baytown Chemical Pressure Relief Valve                                                                 lead to controlled partial shutdown and startup of various
127839     000138; EOMCS         8/6/2009 14:45     8/7/2009 2:09     11:24                                                                                             Propylene              4.50       0.00                                                                already counted
                                                                                      authorized                  Plant           PO-7121A                                                                         units. Portions of these units are permitted under Permits
         00232149 - 00232165                                                                                                                                            (Propene)
                                                                                                                                                                                                                                                   #20211, 4600 and #36476.

                                                                                                                                                                      TOTAL VOC: 1-
                                                                                                                                                                       Butene, 1,3-
                                                                                                                                                                        Butadiene,
                                                                                                                                                                                                                      Valve Packing Leak on PS184 bypass valve (OSF195).
                                                                                    Not Specifically        Butene Processing      PS184 Disch Valve                   Butane, cis-
71894    ETSC 000102 - 000103   2/16/2006 20:23    2/16/2006 20:28     0:05                                                                                                                 405.00        0.00 Portions of the Butene Processing Plant are authorized uner          1             H, R-RQ
                                                                                      authorized                  Unit              Bypass (OSF195)                      Butene-2,
                                                                                                                                                                                                                                                            permit #9571.
                                                                                                                                                                        Isobutane,
                                                                                                                                                                    Isobutylene, Trans-
                                                                                                                                                                         2-butene
                                                                                        Case 4:10-cv-04969 Document 297-7 Filed on 10/19/20 in TXSD Page 8 of 9




                                                                                                                                                                                                   The inlet piping to the Butyl Finishing area Regenerative
                                                                                                                                                                                                 Thermal Oxidizer (RGTO) overpressured and burst. There
                                                                                                                                                                                                 were several small fires associated with this event. Power
                                                                                                                                                                                                    was lost to a portion of the Butyl Polymers plant and a
                                                                                                                                                                                                      partial unit shutdown was initiated. To maintain safe
                                                                                                                                                                                                     operating pressures within the equipment, the diluent
                                                                                  Not Specifically        Butyl Polymers                                     TOTAL VOC:                             system was depressured to the flare (FS12) resulting in
78040    ETSC 000090 - 000091    7/2/2006 18:10     7/3/2006 16:10    22:00                                                   RGTO Inlet Piping                                    6.00   0.00                                                                      1
                                                                                    authorized                 Unit                                            Hexane                                  methyl chloride, hydrogen chloride and products of
                                                                                                                                                                                                 combustion emissions. In addition, there were emissions
                                                                                                                                                                                                    associated with the unfinished rubber remaining in the
                                                                                                                                                                                                 process equipment. These emissions were from the open
                                                                                                                                                                                               inlet piping associated with the RGTO and a rubber holding
                                                                                                                                                                                                  tank (TK0030) adjacent to the rubber finishing area. This
                                                                                                                                                                                                                  unit is permitted in part by Permit 20211.




                                                                                                                                                                                                   The inlet piping to the Butyl Finishing area Regenerative
                                                                                                                                                                                                 Thermal Oxidizer (RGTO) overpressured and burst. There
                                                                                                                                                                                                 were several small fires associated with this event. Power
                                                                                                                                                                                                    was lost to a portion of the Butyl Polymers plant and a
                                                                                                                                                                                                      partial unit shutdown was initiated. To maintain safe
                                                                                                                                                                                                     operating pressures within the equipment, the diluent
                                                                                  Not Specifically        Butyl Polymers                                    TOTAL VOC:                              system was depressured to the flare (FS12) resulting in
78040    ETSC 000090 - 000091    7/2/2006 18:10     7/3/2006 16:10    22:00                                                       Tank 30         TK0030                        484.10    0.00                                                               already counted
                                                                                    authorized                 Unit                                        Methyl Chloride                             methyl chloride, hydrogen chloride and products of
                                                                                                                                                                                                 combustion emissions. In addition, there were emissions
                                                                                                                                                                                                    associated with the unfinished rubber remaining in the
                                                                                                                                                                                                 process equipment. These emissions were from the open
                                                                                                                                                                                               inlet piping associated with the RGTO and a rubber holding
                                                                                                                                                                                                  tank (TK0030) adjacent to the rubber finishing area. This
                                                                                                                                                                                                                  unit is permitted in part by Permit 20211.


                                                                                                                                                              Total VOC:
                                                                                                             Baytown
                                                                                  Not Specifically                                                             Propane,                          Incorrect line up of PO-6101. Portions of the unit emissions
166006   ETSC 068629 - 068630    3/14/2012 8:00     3/14/2012 8:32     0:32                                Polypropylene       Vent Stack 17                                   7,540.00   0.00                                                                      1            H, R-RQ
                                                                                    authorized                                                                Propylene                              are authorized by Permit #8586. This event has ended.
                                                                                                               Plant
                                                                                                                                                              (Propene)

                                                                                                                                                                                                While conducting a unit start-up at BAPP Line 5 following a
                                                                                                                                                                                                    unit shutdown for Hurricane Ike, a reactor overpressure
                                                                                                                                                             TOTAL VOC:
                                                                                                                                                                                                   resulted in propylene and propane being released to the
                                                                                  Not Specifically         Polypropylene                                       Propane,
114736   ETSC 000121 - 000122   9/28/2008 15:15    9/28/2008 15:17     0:02                                                    Vent Stack 17      VS-17                        2,310.00   0.00 atmosphere through a pressure relief valve. The release had          1            H, R-RQ
                                                                                    authorized              Unit: Line 5                                      Propylene
                                                                                                                                                                                               a duration of 70 seconds and the event has ended. Portions
                                                                                                                                                              (Propene)
                                                                                                                                                                                               of the Polypropylene Unit are authorized under Permit Nos.
                                                                                                                                                                                                                                            4600 and 8586.

                                                                                                                                                                                                                     TOTAL - VOC - LIMIT 0 - PERMIT 20211          26              11

                                                                                                                                                                                                         Methyl chloride and hexane entered a compressor
                                                                                                                                                                                                   knockout drum during a unit startup resulting in flaring.
                                                                                                                                                                                               Event has ended. Portions of the Butyl Plant are authorized
                                                                                                                                                                                                under Flexible Permits No. 4600 and 20211. Event started
                                                                                                                                                            TOTAL VOC:
                                                                                                                                                                                               at 6:50pm on 5/27/07, but did not become reportable until
                                                                                  Not Specifically                                                            Hexane,
91743    ETSC 000069 - 000070   5/28/2007 11:15     5/30/2007 1:50    38:35                                 Butyl Plant        Flare Stack 12      FS12                         343.00    0.00 5/28/07 at 12:05. Main flaring ceased at ~18:50 5/2/07. A            2               F
                                                                                    authorized                                                              Isobutylene,
                                                                                                                                                                                              small amount of flaring occurred the next day (5/29/07) but
                                                                                                                                                           Methyl Chloride
                                                                                                                                                                                                        did not exceed any RQs. This 5/29/07 flaring is also
                                                                                                                                                                                                 included because it is associated with the 5/27/07 flaring.
                                                                                                                                                                                               Hours listed in Duration section do not include time periods
                                                                                                                                                                                                              when there were no unauthorized emissions.


                                                                                                                                                                                                          High vibration in compressor C-1 (methyl chloride
                                                                               No specific emissions                                                        TOTAL VOC:
                                                                                                                                                                                                    compressor) resulted in multiple shutdowns. Portions of
91125    ETSC 000071 - 000072    5/14/2007 7:05    5/18/2007 13:20    102:15   authorizations for this      Butyl Plant        Flare Stack 12      FS12     Isobutylene,       3,966.00   0.00                                                               already counted
                                                                                                                                                                                                   the Butyl Plant are authorized under Flexible Permits No.
                                                                                       facility                                                            Methyl Chloride
                                                                                                                                                                                                                                           4600 and 20211.

                                                                                                                                                              TOTAL VOC:
                                                                                                                                                           Butane, Ethylene
                                                                                                                                                               (gaseous),
                                                                                                                                                                                                   Scheduled shutdown of ExxonMobil Baytown Chemical
                                                                                                                                                               Isobutane,
                                                                                  Not Specifically                                                                                              Plant (BTCP) due to approach of Hurricane Ike. Portions of
113885   ETSC 000112 - 000114   9/11/2008 11:00     9/17/2008 6:00    139:00                               Chemical Plant      Flare Stack 12      FS12       Isobutylene,      260.00    0.00                                                             already counted
                                                                                    authorized                                                                                                 these units are permitted under Permits #20211, 4600 and
                                                                                                                                                           Methyl Chloride,
                                                                                                                                                                                                                                                 #36476.
                                                                                                                                                                Propane,
                                                                                                                                                               Propylene
                                                                                                                                                            (Propene), VOC

                                                                                                                                                                                               Vapor release due to open valve on line from reactor heads
                                                                                                         Line from Reactor                                   TOTAL VOC:
                                                                                  Not Specifically                                                                                              drums. Minimal associated flaring of ethylene. Portions of
152424   ETSC 000153 - 000154    3/24/2011 8:50    3/24/2011 14:25     5:35                               Heads Drums D-       Flare Stack 12      FS12        Ethylene         443.00    0.00                                                             already counted
                                                                                    authorized                                                                                                   the unit emissions are authorized by Permit #20211. This
                                                                                                                26H/S                                         (gaseous)
                                                                                                                                                                                                                                         event has ended.
                                                                                                                                                                                                                     TOTAL - VOC - LIMIT 0 - PERMIT 20211           2               2

                                                                                                                                                              TOTAL VOC:
                                                                                                                                                            Butane, Butene,
                                                                                                                                                             Cis-2-butene,
                                                                                                                                                                Ethylene                           Scheduled shutdown of ExxonMobil Baytown Chemical
                                                                                  Not Specifically                                                             (gaseous),                       Plant (BTCP) due to approach of Hurricane Ike. Portions of
113885   ETSC 000112 - 000114   9/11/2008 11:00     9/17/2008 6:00    139:00                               Chemical Plant      Flare Stack 23      FS23                        4,356.20   0.00                                                             already counted      F, H, R-RQ
                                                                                    authorized                                                                 Isobutane,                      these units are permitted under Permits #20211, 4600 and
                                                                                                                                                                Propane,                                                                         #36476.
                                                                                                                                                                Propylene
                                                                                                                                                           (Propene), Trans-
                                                                                                                                                             2-butene, VOC

                                                                                                                                                             TOTAL VOC:                           External mechanical seal failure on agitator. The event has
                                                                                  Not Specifically         Polypropylene
113195   ETSC 000110 - 000111   8/27/2008 10:15    8/27/2008 14:27     4:12                                                    Flare Stack 23      FS23       Propylene         150.82    0.00     ended. Portions of the Polypropylene Unit are authorized already counted
                                                                                    authorized              Unit: Line 7
                                                                                                                                                              (Propene)                                                  under Permit Nos. 4600 and 8586.
                                                                                                                                                                                                        Compressor C-8745 shut down due to a fault in a low
                                                                                                                                                             TOTAL VOC:
                                                                                  Not Specifically         Polypropylene                                                                           suction pressure switch. The event has ended. Portions of
88629    ETSC 000073 - 000074   3/20/2007 20:40     3/21/2007 2:29     5:49                                                    Flare stack 23      FS23       Propylene         175.00    0.00                                                                      1           F, H, R-RQ
                                                                                    authorized              Unit: Line 8                                                                          the Propylene Unit are authorized under Permit Nos. 4600
                                                                                                                                                              (Propene)
                                                                                                                                                                                                                                                  and 8586.
                                                                                                                                                             TOTAL VOC:                             Safety relief valve on the 8753B transfer system relieved
                                                                                  Not Specifically         Polypropylene
83779    ETSC 000079 - 000080   11/12/2006 8:47    11/12/2006 10:55    2:08                                                    Flare Stack 23      FS23       Propylene         225.00    0.00       early. Portions of the Polypropylene Unit are authorized       1           F, H, R-RQ
                                                                                    authorized              Unit: Line 8
                                                                                                                                                              (Propene)                                                      under Permit Nos. 4600 & 8586.
                                                                                                                                                             TOTAL VOC:                             Pump seal leak. The event has ended. Portions of the
                                                                                  Not Specifically         Polypropylene
92944    ETSC 000067 - 000068   6/20/2007 17:00    6/20/2007 17:45     0:45                                                    Flare Stack 23      FS23       Propylene            1.00   0.00 Polypropylene Unit are authorized under Permit Nos. 4600 already counted
                                                                                    authorized              Unit: Line 8
                                                                                                                                                               (Propene)                                                                      and 8586.
                                                                                                                                                             TOTAL VOC:
                                                                                                                                                                                                        During line re-inventory, pump shutdown resulted in
                                                                                  Not Specifically           Propylene                                          Propane,
99726    ETSC 000059 - 000060    11/6/2007 1:42     11/6/2007 8:15     6:33                                                    Flare Stack 23      FS23                         588.10    0.00 flaring. Event has ended. Portions of the PCU are authorized         1           F, H, R-RQ
                                                                                    authorized           Concentration Unit                                   Propylene
                                                                                                                                                                                                                                       under permit #4600.
                                                                                                                                                               (Propene)
                                                                                                                                                             TOTAL VOC:                          Solenoid coil failure on reactor diverter valve, resulting in
                                                                                  Not Specifically         Polypropylene
77100    ETSC 000094 - 000095    6/14/2006 4:37     6/14/2006 9:10     4:33                                                    Flare Stack 23      FS23       Propylene         711.00    0.00 propylene flaring. Portions of this unit are authorized under        1           F, H, R-RQ
                                                                                    authorized              Unit: Line 8
                                                                                                                                                               (Propene)                                                                       permit #4600.
                                                                                                                                                             TOTAL VOC:
                                                                                                                                                                                                 PCU motors C125 and C-130 shutoff due to internal failures
                                                                                  Not Specifically           Propylene                                          Propane,
68234    ETSC 000049 - 000050   11/17/2005 22:45   11/18/2005 3:00     4:15                                                         FS23           FS23                         210.00    0.00     resulting in flaring. Portions of PCU are authorized under       1           F, H, R-RQ
                                                                                    authorized           Concentration Unit                                   Propylene
                                                                                                                                                                                                                                Permit 4600 and Permit 9571.
                                                                                                                                                               (Propene)
                                                                                                                                                             TOTAL VOC:
                                                                                                                                                                                                 PCU motors C125 and C-130 shutoff due to internal failures
                                                                                  Not Specifically           Propylene                                          Propane,
68234    ETSC 000049 - 000050   11/17/2005 22:45   11/18/2005 3:00     4:15                                                         FS24           FS24                          17.50    0.00     resulting in flaring. Portions of PCU are authorized under already counted
                                                                                    authorized           Concentration Unit                                   Propylene
                                                                                                                                                                                                                                Permit 4600 and Permit 9571.
                                                                                                                                                               (Propene)
                                                                                                                                                             TOTAL VOC:
                                                                                                                                                                Butane,                            Scheduled shutdown of ExxonMobil Baytown Chemical
                                                                                  Not Specifically                                                            Isobutane,                        Plant (BTCP) due to approach of Hurricane Ike. Portions of
113885   ETSC 000112 - 000114   9/11/2008 11:00     9/17/2008 6:00    139:00                               Chemical Plant      Flare Stack 24      FS24                          51.40    0.00                                                             already counted
                                                                                    authorized                                                                  Propane,                       these units are permitted under Permits #20211, 4600 and
                                                                                                                                                              Propylene                                                                          #36476.
                                                                                                                                                           (Propene), VOC
                                                                                                                                                             TOTAL VOC:                           External mechanical seal failure on agitator. The event has
                                                                                  Not Specifically         Polypropylene
113195   ETSC 000110 - 000111   8/27/2008 10:15    8/27/2008 14:27     4:12                                                    Flare Stack 24      FS24       Propylene         109.55    0.00     ended. Portions of the Polypropylene Unit are authorized already counted
                                                                                    authorized              Unit: Line 7
                                                                                                                                                              (Propene)                                                  under Permit Nos. 4600 and 8586.
                                                                                                                                                             TOTAL VOC:                          Solenoid coil failure on reactor diverter valve, resulting in
                                                                                  Not Specifically         Polypropylene
77100    ETSC 000094 - 000095    6/14/2006 4:37     6/14/2006 9:10     4:33                                                    Flare Stack 24      FS24       Propylene            8.00   0.00 propylene flaring. Portions of this unit are authorized under already counted
                                                                                    authorized              Unit: Line 8
                                                                                                                                                              (Propene)                                                                        permit #4600.
                                                                                                                                                             TOTAL VOC:
                                                                                                                                                                                                        During line re-inventory, pump shutdown resulted in
                                                                                  Not Specifically           Propylene                                         Propane,
99726    ETSC 000059 - 000060    11/6/2007 1:42     11/6/2007 8:15     6:33                                                    Flare Stack 24      FS24                         497.90    0.00 flaring. Event has ended. Portions of the PCU are authorized already counted
                                                                                    authorized           Concentration Unit                                   Propylene
                                                                                                                                                                                                                                       under permit #4600.
                                                                                                                                                              (Propene)
                                                                                                                                                             TOTAL VOC:                               Compressor C-8745 malfunctioned during a controlled
                                                                                  Not Specifically        Compressor C-
76346    ETSC 000097 - 000098    5/25/2006 6:44    5/25/2006 20:00    13:16                                                       Flare 24         FS24       Propylene         218.00    0.00      shutdown of Line 8 and caused venting to flare stack 24.        1           F, H, R-RQ
                                                                                    authorized           8745; BAPP Line 8
                                                                                                                                                              (Propene)                              Portions of this unit are authorized under permit 4600.
                                                                                                                                                                                                                      TOTAL - VOC - LIMIT 0 - PERMIT 4600           6               6

                                                                                                                                                                                                  During a rainstorm a lightning strike caused a temporary
                                                                                                                                                                                                   power disruption which resulted in damage to electrical
                                                                                                                                                                                               components of the acid gas grid system. This damage lead
                                                                                                                                                                                                      to intermittent flaring. Duration of emissions was 42
                                                                               No specific emissions                                                         TOTAL VOC:
                                                                                                                                                                                               minutes. Syngas Unit is authorized by Permit #36476/PSD-
95950    ETSC 000065 - 000066    8/15/2007 3:40     8/15/2007 4:22     0:42    authorizations for this      Syngas Unit        Flare Stack 28      FS28       Methanol,            1.03   0.00                                                                      1               F
                                                                                                                                                                                                TX-996M1. Date Start Stop Duration 8/15/2007 3:18 3:21
                                                                                       facility                                                               Propane
                                                                                                                                                                                                 );)3 min 8/15/2007 3:23 3:32 0:09 min 8/16/2007 14:03
                                                                                                                                                                                                          14:11 0:08 min 8/16/2007 15:22 15:27 0:05 min
                                                                                                                                                                                                 8/16/2007 15:36 15:39 0:03 min 8/16/2007 15:42 15:50
                                                                                                                                                                                                                    0:08 min 8/16/2007 15:51 15:57 0:06.

                                                                                                                                                                                                                     TOTAL - VOC - LIMIT 0 - PERMIT 36476           1               1
                                                                                         Case 4:10-cv-04969 Document 297-7 Filed on 10/19/20 in TXSD Page 9 of 9




                                                                                                                                                              TOTAL VOC:                               External mechanical seal failure on agitator. The event has
                                                                                   Not Specifically           Polypropylene
113195   ETSC 000110 - 000111   8/27/2008 10:15    8/27/2008 14:27    4:12                                                       Flare Stack 9     FS09        Propylene            0.02       0.00     ended. Portions of the Polypropylene Unit are authorized already counted
                                                                                     authorized                Unit: Line 7
                                                                                                                                                               (Propene)                                                      under Permit Nos. 4600 and 8586.
                                                                                                                                                              TOTAL VOC:
                                                                                                                                                                                                      PCU motors C125 and C-130 shutoff due to internal failures
                                                                                   Not Specifically             Propylene                                       Propane,
68234    ETSC 000049 - 000050   11/17/2005 22:45   11/18/2005 3:00    4:15                                                            FS9          FS9                           123.00        0.00     resulting in flaring. Portions of PCU are authorized under already counted
                                                                                     authorized             Concentration Unit                                 Propylene
                                                                                                                                                                                                                                     Permit 4600 and Permit 9571.
                                                                                                                                                               (Propene)
                                                                                                                                                                                                                                      NO REPEATED VIOLATION
                                                                                                                                                                                                    A spike in nitrogen pressure of key control valves lead to an
                                                                              0.1 lbs of the 0.54 lbs are                                                     TOTAL VOC:
                                                                                                                                                                                                    automated diversion of a stream from the Clause system to
127416   ETSC 000132 - 000133   7/28/2009 21:40    7/28/2009 22:12    0:32       authorized (Permit           SYNGAS Unit        Flare Stack 28    FS28        Propylene            0.54       0.10                                                                      1           F, H, R-RQ
                                                                                                                                                                                                          flare stack 28 (permit # 36476, PSD-TX-996M1) for 37
                                                                                       #36476)                                                                 (Propene)
                                                                                                                                                                                                                                                        minutes.
                                                                               0.123 of 0.557 lbs are                                                                                               Malfunction of control valve at Air Products Plant which led
                                                                                                                                                            TOTAL VOC: VOC
173019   ETSC 072777 - 072778    9/1/2012 4:57      9/1/2012 5:18     0:21    authorized under Permit          Syngas Unit       Flare Stack 28    FS28                             0.43       0.10 to flaring at FS-28. Portions of the emissions are authorized        1            F, R-RQ
                                                                                                                                                             (unspeciated)
                                                                              #36476/PSD-TX-996M1                                                                                                                      by permit number 36476/PSD-TX-996M1.
                                                                                                                                                                                                                      TOTAL - VOC - LIMIT 0.10 - PERMIT 36476            2               2
                                                                                                             SYNGAS Unit, Air                                                                            During a strainer change at APCI, a pump cavitated. The
                                                                                  Portions may be
                                                                                                               Products and                                                                            subsequent unit upset resulted in acid gas flaring at FS28.
140499   ETSC 000141 - 000142    6/2/2010 10:30     6/2/2010 10:45    0:15      authorized under the                             Flare Stack 28    FS28     TOTAL VOC: VOC          0.29       3.31                                                                      1
                                                                                                              Chemicals, Inc.                                                                            This event has ended. Portions of the unit emissions are
                                                                                   Permit #36476
                                                                                                                   APCI                                                                                                            authorized by Permit #36476.

                                                                                                                                                                                                    During a planned unit startup, a restriction in a line resulted
                                                                                                                                                                                                         in flaring above permitted MSS hourly limits from Flare
                                                                                 33145.72 lbs of the                                                                                                  Stack 28. Hourly MSS permit limit for COS exceeded in the
                                                                                  52743.64 lbs are          SYNGAS Unit, SGU                                   Total VOC:                           04:00-4:59 clock hour but no RQs exceeded during this time
133644   ETSC 000139 - 000140   12/23/2009 2:00    12/23/2009 17:30   15:30                                                      Flare Stack 28    FS28                             2.83       3.31                                                                      1               F
                                                                                 authorized (Permit              FS28                                           Propane                                 period. During the 05:00-05:59 clock hour, H2S and SO2
                                                                                      #36476)                                                                                                        hourly MSS permit limits were exceeded as well as the SO2
                                                                                                                                                                                                            RQ. Portions of the unit are authorized under Permit
                                                                                                                                                                                                             #36476, PSD-TX 996M. Emissions event has ended.

                                                                                                                                                                                                                      TOTAL - VOC - LIMIT 3.31 - PERMIT 36476            2               1
                                                                                                                                                              TOTAL VOC:
                                                                                   Not Specifically                                                                                                   Propylene flush to R5101 open during R5101 purge (Permit
126665   ETSC 000130 - 000131   7/10/2009 13:00    7/10/2009 21:00    8:00                                  BAPP; FLARE LOOP     Flare Stack 24    FS24        Propylene          69.40       10.60                                                            already counted
                                                                                     authorized                                                                                                                                                       # 8586).
                                                                                                                                                               (Propene)
                                                                                                                                                                                                                                       NO REPEATED VIOLATION
                                                                                                                                                              TOTAL VOC:
                                                                                   Not Specifically                                                                                                   Propylene flush to R5101 open during R5101 purge (Permit
126665   ETSC 000130 - 000131   7/10/2009 13:00    7/10/2009 21:00    8:00                                  BAPP; FLARE LOOP     Flare Stack 23    FS23        Propylene         749.00     113.90                                                                       1           F, H, R-RQ
                                                                                     authorized                                                                                                                                                       # 8586).
                                                                                                                                                               (Propene)
                                                                                                                                                                                                                                       NO REPEATED VIOLATION
                                                                                                                                                                                                         Power surge and subsequent stabilization of operations
            ETSC 000134 -
                                                                                   Not Specifically         Baytown Chemical                                  TOTAL VOC:                               lead to controlled partial shutdown and startup of various
127839     000138; EOMCS         8/6/2009 14:45     8/7/2009 2:09     11:24                                                      Flare Stack 12    FS12                          159.00     169.45                                                                       1               F
                                                                                     authorized                   Plant                                       Isobutylene                              units. Portions of these units are permitted under Permits
         00232149 - 00232165
                                                                                                                                                                                                                                       #20211, 4600 and #36476.
                                                                                                                                                                                                                                       NO REPEATED VIOLATION

                                                                                                                                                               TOTAL VOC:
                                                                                                                                                             Butane, Butene,
                                                                                                                                                              Cis-2-butene,
                                                                                                                                                                 Ethylene                                Power surge and subsequent stabilization of operations
            ETSC 000134 -                                                     214.68 of 2,271 pounds
                                                                                                            Baytown Chemical                                    (gaseous),                             lead to controlled partial shutdown and startup of various
127839     000138; EOMCS         8/6/2009 14:45     8/7/2009 2:09     11:24    authorized by Permit                              Fare Stack 24     FS24                         2,271.00   1,731.12                                                               already counted
                                                                                                                  Plant                                         Isobutane,                             units. Portions of these units are permitted under Permits
         00232149 - 00232165                                                           4600
                                                                                                                                                                 Propane,                                                              #20211, 4600 and #36476.
                                                                                                                                                                 Propylene
                                                                                                                                                            (Propene), Trans-
                                                                                                                                                              2-butene, VOC

                                                                               2.5 of total of 113.8 lbs                                                                                            Flaring due to system malfunction. Portions of this unit are
                                                                                                              Polypropylene
142965   ETSC 000143 - 000144   7/30/2010 22:09     7/31/2010 1:21    3:12      are authorized under                             Flare Stack 23    FS23       TOTAL VOC          111.30    1,731.12 covered under permits 8586 and 4600. All customer needs              1               F
                                                                                                               Unit, Line 8
                                                                                     permit 4600                                                                                                                                                     were met.

                                                                                                                                                               TOTAL VOC:
                                                                                                                                                             Butane, Butene,
                                                                                                                                                              Cis-2-butene,
                                                                                                                                                                 Ethylene                                Power surge and subsequent stabilization of operations
            ETSC 000134 -                                                       404 of 4,217 pounds
                                                                                                            Baytown Chemical                                    (gaseous),                             lead to controlled partial shutdown and startup of various
127839     000138; EOMCS         8/6/2009 14:45     8/7/2009 2:09     11:24     authorized by Permit                             Flare Stack 23    FS23                         4,217.00   1,731.12                                                                      1           F, H, R-RQ
                                                                                                                  Plant                                         Isobutane,                             units. Portions of these units are permitted under Permits
         00232149 - 00232165                                                            4600
                                                                                                                                                                 Propane,                                                              #20211, 4600 and #36476.
                                                                                                                                                                 Propylene
                                                                                                                                                            (Propene), Trans-
                                                                                                                                                              2-butene, VOC

                                                                                                                                                                                                    While conducting a unit start-up at BAPP Line 4 following a
                                                                                                                                                                                                      unit shutdown for Hurricane Ike, an electrical component
                                                                                                                                                              TOTAL VOC:                             failed in a substation. This failure resulted in an automatic
                                                                                   Not Specifically           Polypropylene
114372   ETSC 000115 - 000116    9/22/2008 0:15     9/22/2008 5:00    4:45                                                       Flare Stack 23    FS23        Propylene         431.70    1,731.12         unit shutdown with associated flaring for safety and         1           F, H, R-RQ
                                                                                     authorized                Unit: Line 4
                                                                                                                                                               (Propene)                            pressure control reasons. The event has ended. Portions of
                                                                                                                                                                                                      the Polypropylene Unit are authorized under Permit Nos.
                                                                                                                                                                                                                                                   4600 and 8586.

                                                                                                                                                                                                    While conducting a unit start-up at BAPP Line 6 following a
                                                                                                                                                              TOTAL VOC:                            unit shutdown for Hurricane Ike, a compressor shut down,
                                                                                   Not Specifically           Polypropylene
114463   ETSC 000117 - 000118    9/23/2008 6:45    9/23/2008 11:10    4:25                                                       Flare Stack 23    FS23        Propylene         176.70    1,731.12 which resulted in propylene being sent to the flare system.          1           F, H, R-RQ
                                                                                     authorized                Unit: Line 6
                                                                                                                                                               (Propene)                              The event has ended. Portions of the Polypropylene Unit
                                                                                                                                                                                                             are authorized under Permit Nos. 4600 and 8586.

                                                                               12.6 of total of 27.8 lbs                                                      TOTAL VOC:                            Flaring due to system malfunction. Portions of this unit are
                                                                                                              Polypropylene
142965   ETSC 000143 - 000144   7/30/2010 22:09     7/31/2010 1:21    3:12      are authorized under                             Flare Stack 24    FS24        Propylene          15.20    1,731.12 covered under permits 8586 and 4600. All customer needs already counted
                                                                                                               Unit, Line 8
                                                                                    permit 4600                                                                (Propene)                                                                             were met.
                                                                                                                                                                                                    While conducting a unit start-up at BAPP Line 4 following a
                                                                                                                                                                                                      unit shutdown for Hurricane Ike, an electrical component
                                                                                                                                                              TOTAL VOC:                             failed in a substation. This failure resulted in an automatic
                                                                                   Not Specifically           Polypropylene
114372   ETSC 000115 - 000116    9/22/2008 0:15     9/22/2008 5:00    4:45                                                       Flare Stack 24    FS24        Propylene          57.60    1,731.12         unit shutdown with associated flaring for safety and already counted
                                                                                     authorized                Unit: Line 4
                                                                                                                                                               (Propene)                            pressure control reasons. The event has ended. Portions of
                                                                                                                                                                                                      the Polypropylene Unit are authorized under Permit Nos.
                                                                                                                                                                                                                                                   4600 and 8586.

                                                                                                                                                                                                    While conducting a unit start-up at BAPP Line 6 following a
                                                                                                                                                              TOTAL VOC:                            unit shutdown for Hurricane Ike, a compressor shut down,
                                                                                   Not Specifically           Polypropylene
114463   ETSC 000117 - 000118    9/23/2008 6:45    9/23/2008 11:10    4:25                                                       Flare Stack 24    FS24        Propylene          10.40    1,731.12 which resulted in propylene being sent to the flare system. already counted
                                                                                     authorized                Unit: Line 6
                                                                                                                                                               (Propene)                              The event has ended. Portions of the Polypropylene Unit
                                                                                                                                                                                                             are authorized under Permit Nos. 4600 and 8586.


                                                                                                                                                               TOTAL VOC:
                                                                                                                                                             Butane, Butene,
                                                                                                                                                              Cis-2-butene,
                                                                                                                                                                 Ethylene                                Power surge and subsequent stabilization of operations
            ETSC 000134 -
                                                                                   Not Specifically         Baytown Chemical                                    (gaseous),                             lead to controlled partial shutdown and startup of various
127839     000138; EOMCS         8/6/2009 14:45     8/7/2009 2:09     11:24                                                      Flare Stack 9     FS9                            86.00    1,731.12                                                               already counted
                                                                                     authorized                   Plant                                         Isobutane,                             units. Portions of these units are permitted under Permits
         00232149 - 00232165
                                                                                                                                                                 Propane,                                                              #20211, 4600 and #36476.
                                                                                                                                                                 Propylene
                                                                                                                                                            (Propene), Trans-
                                                                                                                                                              2-butene, VOC

                                                                               0 of total of 0.1 lbs are                                                      TOTAL VOC:                            Flaring due to system malfunction. Portions of this unit are
                                                                                                              Polypropylene
142965   ETSC 000143 - 000144   7/30/2010 22:09     7/31/2010 1:21    3:12    authorized under permit                            Flare Stack 9     FS9         Propylene            0.10   1,731.12 covered under permits 8586 and 4600. All customer needs already counted
                                                                                                               Unit, Line 8
                                                                                        4600                                                                   (Propene)                                                                             were met.
                                                                                                                                                                                                                  TOTAL - VOC - LIMIT 1731.12 - PERMIT 4600        4                     4

                                                                                                                                                              TOTAL VOC:
                                                                                                                                                            Butanes, Hexane,
                                                                              568.95 lbs of the 659 lbs                                                                                                   Compressor C-1 (methyl chloride compressor) tripped.
                                                                                                                                                              Isobutylene,
166583   ETSC 068631 - 068632    3/29/2012 0:04     3/29/2012 9:59    9:55    are authorized by Permit         Butyl Plant       Flare Stack 12    FS12                           90.05    2,137.54     Portions of the Butyl Plant emissions were authorized by         1               F
                                                                                                                                                            Methyl Chloride,
                                                                                       20213                                                                                                                               permit #20211. This event has ended.
                                                                                                                                                              Propadiene,
                                                                                                                                                                Propane

                                                                                                                                                               TOTAL VOC:
                                                                                 6.04 lbs of the total                                                           Hexane,                                    Methyl chloride compressor C-1 tripped, resulting in
                                                                                                              Butyl Polymer
152760   ETSC 000155 - 000156    4/1/2011 3:57      4/1/2011 7:04     3:07    214.36 lbs are authorized                          Flare Stack 12    FS12        Isobutylene,      208.32    2,137.54        subsequent flaring. Portions of the unit emissions are        1               F
                                                                                                              Baytown Plant
                                                                                under Permit #20211                                                         Isoprene, Methyl                                                authorized under Permit No. 20211.
                                                                                                                                                                 Chloride

                                                                                                                                                               TOTAL VOC:
                                                                                                                                                                                                    Loss of compressor electrical motor for C-1 (methyl chloride
                                                                               55.76 lbs of the total        Butyl Polymer                                       Hexane,
                                                                                                                                                                                                      compressor) resulted in shutdown of Butyl Polymer Plant.
143387   ETSC 000147 - 000148   8/10/2010 10:26     8/11/2010 2:38    16:12   330.7 lbs are authorized       Baytown Plant,      Flare Stack 12    FS12        Isobutylene,      480.24    2,137.54                                                                      1               F
                                                                                                                                                                                                     Portions of the unit emissions are authorized under Permit
                                                                               under permit # 20211               BPB                                       Isoprene, Methyl
                                                                                                                                                                                                                                                     No. 20211.
                                                                                                                                                                 Chloride

                                                                                                                                                                                                    Vapor release due to open valve on line from reactor heads
                                                                                  Portions may be                                                             TOTAL VOC:
                                                                                                      Butyl Polymers, D-                                                                             drums. Minimal associated flaring of ethylene. Portions of
152424   ETSC 000153 - 000154    3/24/2011 8:50    3/24/2011 14:25    5:35    authorized under Permit                            Flare Stack 12    FS12         Ethylene            5.98   2,137.54                                                                      1              F, H
                                                                                                            26H/S                                                                                     the unit emissions are authorized by Permit #20211. This
                                                                                      #20211                                                                   (gaseous)
                                                                                                                                                                                                                                              event has ended.

                                                                                                                                                                                                    Loss of compressor electrical motor for C-1 (methyl chloride
                                                                                  Portion may be             Butyl Polymer
                                                                                                                                                              TOTAL VOC:                              compressor) resulted in shutdown of Butyl Polymer Plant.
143387   ETSC 000147 - 000148   8/10/2010 10:26     8/11/2010 2:38    16:12   authorized under permit        Baytown Plant,        Tank 19        TK 0019                         39.74    2,137.54                                                              already counted
                                                                                                                                                                Hexane                               Portions of the unit emissions are authorized under Permit
                                                                                      #20211                      BPB
                                                                                                                                                                                                                                                     No. 20211.
                                                                                                                                                                                                                  TOTAL - VOC - LIMIT 2137.54 - PERMIT 20211             4               4


                                                                                                                                                                                                                                                                                       TOTAL
                                                                                                                                                                                                                                                                                     TRACEABLE
                                                                                                                                                                                                                                                                                      DAYS OF
                                                                                                                                                                                                                                                                                     VIOLATION:
                                                                                                                                                                                                                                                                                        152
